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                                                                        JA00121
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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 125 of 695 PageID #: 6916




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 192 of 695 PageID #: 6983




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 193 of 695 PageID #: 6984




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 194 of 695 PageID #: 6985




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 195 of 695 PageID #: 6986




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 196 of 695 PageID #: 6987




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 197 of 695 PageID #: 6988




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 198 of 695 PageID #: 6989




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 199 of 695 PageID #: 6990




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 200 of 695 PageID #: 6991




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 201 of 695 PageID #: 6992




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 202 of 695 PageID #: 6993




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 203 of 695 PageID #: 6994




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 204 of 695 PageID #: 6995




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 205 of 695 PageID #: 6996




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 206 of 695 PageID #: 6997




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 207 of 695 PageID #: 6998




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 208 of 695 PageID #: 6999




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 209 of 695 PageID #: 7000




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 210 of 695 PageID #: 7001




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 211 of 695 PageID #: 7002




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 212 of 695 PageID #: 7003




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 213 of 695 PageID #: 7004




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 214 of 695 PageID #: 7005




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 215 of 695 PageID #: 7006




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 216 of 695 PageID #: 7007




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 217 of 695 PageID #: 7008




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 218 of 695 PageID #: 7009




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 219 of 695 PageID #: 7010




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 220 of 695 PageID #: 7011




                                                                        JA00217
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 221 of 695 PageID #: 7012




                                                                        JA00218
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 222 of 695 PageID #: 7013




                                                                        JA00219
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 223 of 695 PageID #: 7014




                                                                        JA00220
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 224 of 695 PageID #: 7015




                                                                        JA00221
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 225 of 695 PageID #: 7016




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 226 of 695 PageID #: 7017




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 227 of 695 PageID #: 7018




                                                                      JA00223
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 228 of 695 PageID #: 7019




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 229 of 695 PageID #: 7020




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 230 of 695 PageID #: 7021




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 231 of 695 PageID #: 7022




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 232 of 695 PageID #: 7023




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 233 of 695 PageID #: 7024




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 234 of 695 PageID #: 7025




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 235 of 695 PageID #: 7026




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 236 of 695 PageID #: 7027




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 237 of 695 PageID #: 7028




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 238 of 695 PageID #: 7029




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 239 of 695 PageID #: 7030




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 240 of 695 PageID #: 7031




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 241 of 695 PageID #: 7032




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 242 of 695 PageID #: 7033




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 243 of 695 PageID #: 7034




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 244 of 695 PageID #: 7035




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 245 of 695 PageID #: 7036




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 246 of 695 PageID #: 7037




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 247 of 695 PageID #: 7038




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 248 of 695 PageID #: 7039




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 249 of 695 PageID #: 7040




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 250 of 695 PageID #: 7041




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 251 of 695 PageID #: 7042




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 252 of 695 PageID #: 7043




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 253 of 695 PageID #: 7044




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 254 of 695 PageID #: 7045




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 255 of 695 PageID #: 7046




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 256 of 695 PageID #: 7047




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 257 of 695 PageID #: 7048




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 258 of 695 PageID #: 7049




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 259 of 695 PageID #: 7050




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 260 of 695 PageID #: 7051




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 261 of 695 PageID #: 7052




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 262 of 695 PageID #: 7053




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 263 of 695 PageID #: 7054




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 264 of 695 PageID #: 7055




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 265 of 695 PageID #: 7056




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 266 of 695 PageID #: 7057




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 267 of 695 PageID #: 7058




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 268 of 695 PageID #: 7059




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 269 of 695 PageID #: 7060




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 270 of 695 PageID #: 7061




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 271 of 695 PageID #: 7062




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 272 of 695 PageID #: 7063




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 273 of 695 PageID #: 7064




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 274 of 695 PageID #: 7065




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 275 of 695 PageID #: 7066




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 276 of 695 PageID #: 7067




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 277 of 695 PageID #: 7068




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 278 of 695 PageID #: 7069




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 279 of 695 PageID #: 7070




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 280 of 695 PageID #: 7071




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 282 of 695 PageID #: 7073




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 284 of 695 PageID #: 7075




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 285 of 695 PageID #: 7076




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 286 of 695 PageID #: 7077




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 287 of 695 PageID #: 7078




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 288 of 695 PageID #: 7079




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 289 of 695 PageID #: 7080




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 290 of 695 PageID #: 7081




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 291 of 695 PageID #: 7082




                                                                        JA00287
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 292 of 695 PageID #: 7083




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 293 of 695 PageID #: 7084




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 294 of 695 PageID #: 7085




                                                                        JA00290
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 295 of 695 PageID #: 7086




                                                                        JA00291
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 296 of 695 PageID #: 7087




                                                                        JA00292
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 297 of 695 PageID #: 7088




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                                                                        JA00295
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 300 of 695 PageID #: 7091




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 304 of 695 PageID #: 7095




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                                                                        JA00300
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 306 of 695 PageID #: 7097




                                                                        JA00301
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 307 of 695 PageID #: 7098




                                                                        JA00302
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 308 of 695 PageID #: 7099




                                                                        JA00303
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 309 of 695 PageID #: 7100




                                                                        JA00304
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 310 of 695 PageID #: 7101




                                                                        JA00305
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 311 of 695 PageID #: 7102




                                                                        JA00306
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 312 of 695 PageID #: 7103




                                                                        JA00307
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 313 of 695 PageID #: 7104




                                                                        JA00308
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 314 of 695 PageID #: 7105




                                                                        JA00309
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 315 of 695 PageID #: 7106




                                                                        JA00310
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 316 of 695 PageID #: 7107




                                                                        JA00311
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 317 of 695 PageID #: 7108




                                                                        JA00312
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 318 of 695 PageID #: 7109




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 319 of 695 PageID #: 7110




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 320 of 695 PageID #: 7111




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 321 of 695 PageID #: 7112




                                                                        JA00316
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 322 of 695 PageID #: 7113




                                                                        JA00317
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 323 of 695 PageID #: 7114




                                                                        JA00318
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 324 of 695 PageID #: 7115




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 325 of 695 PageID #: 7116




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 326 of 695 PageID #: 7117




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 327 of 695 PageID #: 7118




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 328 of 695 PageID #: 7119




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 329 of 695 PageID #: 7120




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 330 of 695 PageID #: 7121




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 331 of 695 PageID #: 7122




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 335 of 695 PageID #: 7126




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 336 of 695 PageID #: 7127




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 337 of 695 PageID #: 7128




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 338 of 695 PageID #: 7129




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 340 of 695 PageID #: 7131




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 341 of 695 PageID #: 7132




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 342 of 695 PageID #: 7133




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 343 of 695 PageID #: 7134




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 344 of 695 PageID #: 7135




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 345 of 695 PageID #: 7136




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 346 of 695 PageID #: 7137




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 347 of 695 PageID #: 7138




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 348 of 695 PageID #: 7139




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 349 of 695 PageID #: 7140




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 350 of 695 PageID #: 7141




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 351 of 695 PageID #: 7142




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 357 of 695 PageID #: 7148




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 365 of 695 PageID #: 7156




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 366 of 695 PageID #: 7157




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 367 of 695 PageID #: 7158




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 368 of 695 PageID #: 7159




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 369 of 695 PageID #: 7160




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 370 of 695 PageID #: 7161




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 371 of 695 PageID #: 7162




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 372 of 695 PageID #: 7163




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 373 of 695 PageID #: 7164




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 374 of 695 PageID #: 7165




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 376 of 695 PageID #: 7167




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 377 of 695 PageID #: 7168




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                   JOINT APPENDIX 07
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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


     ARBUTUS BIOPHARMA CORPORATION
     and GENEVANT SCIENCES GMBH

                           Plaintiffs,

            v.

     MODERNA, INC. and MODERNATX,
     INC.,

                           Defendants.                  C.A. No. 22-252-MSG


     MODERNA, INC. and MODERNATX,                       JURY TRIAL DEMANDED
     INC.,
               Counterclaim-Plaintiffs,

            v.

     ARBUTUS BIOPHARMA CORPORATION
     and GENEVANT SCIENCES GMBH

                    Counterclaim-Defendants.


                       DECLARATION OF DAVID H. THOMPSON, PH.D.
                          REGARDING CLAIM CONSTRUCTION

          I hereby declare that all statements made herein of my own knowledge are true and that all

   statements made on information or belief are believed to be true, and further that these statements

   were made with the knowledge that willful false statements and the like so made are punishable

   by fine or imprisonment, or both, under Section 1001 of Title 18 of the United States Code.


   Dated: September 25, 2022
                                                    David H. Thompson, Ph.D.




                                                                                            JA00404
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          A.        Lipid Composition Patents: “mol % of the total lipid present in the
                    particle” ..................................................................................................................17

                    1.         The meaning of “particle” in the context of the specification and
                               file history is not limited to a “finished” particle, as Moderna uses
                               the word “finished.” ...................................................................................17

                    2.         The POSA would interpret the claimed mol % ranges using
                               significant figures and rounding. ...............................................................26

          B.        The ’651 Patent: “wherein at least 70% / at least 80% / about 90% of the
                    mRNA in the formulation is fully encapsulated in the lipid vesicles” ..................34




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          I, David H. Thompson, Ph.D., declare as follows:

   I.     QUALIFICATIONS AND EXPERIENCE

          1.      I am a Professor of Chemistry at Purdue University and the Director of the

   Medicinal Chemistry Group in the Purdue Center for Cancer Research. My primary research

   interests include the development of transiently-stable carrier systems for drug and nucleic acid

   delivery, including fusogenic lipid systems and PEG-lipid formulations, and flow chemistry

   methods for preparing nucleic acid complexes and small molecules. I have studied, taught,

   practiced, and conducted research involving the formulation, use, characterization, and delivery of

   lipid particles. I am an expert in the delivery of therapeutic agents using lipid particles.

          2.      I received my Ph.D. in Organic Chemistry from Colorado State University in 1984.

   I also hold a Bachelor of the Arts in Biology and a Bachelor of Science in Chemistry from the

   University of Missouri, Columbia. I conducted post-doctoral research at Oregon Health &

   Sciences University.

          3.      I served as an assistant professor at Oregon Health & Sciences University for

   roughly seven years, after which time I moved over to Purdue University, where I have been a

   faculty member for over 29 years. I served as associate professor in the Department of Chemistry

   and was promoted to full professor in 2001. Since that time, I have served as Professor of Organic

   Chemistry, as well as a professor in Purdue University’s Department of Biomedical Engineering.

   In addition, I have served as a visiting professor at numerous institutions, including: University of

   Florida, Department of Pharmaceutics; University of British Columbia, Department of

   Biochemistry; Chulalongkorn University, Department of Pharmaceutics; Technical University of

   Denmark, Department of Micro & Nanotechnology; Japan Advanced Institute of Science &

   Technology, Department of Biomaterials; and Osaka University, Department of Applied

   Chemistry.


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          4.      I serve in leadership roles on numerous committees and programs at Purdue

   University, including serving as: director of the Medical Chemistry Group, co-director of

   Chemical & Structural Biology Interdisciplinary Research, head of the Organic Chemistry

   Division for the Department of Chemistry, course developer for NSF Interdisciplinary Science

   Education for Engineers, member of the committee for the Department of Chemistry Graduate

   Studies, and director of the NIH-National Cancer Institute’s Experimental Therapeutics –

   Chemical Biology Consortium. In addition, I have served in many government-service and

   advisory-board positions, including participating as a panelist on numerous NIH Study sections,

   such as the study section for Bioengineering and Physiology as well as on Gene and Drug Delivery.

          5.      I have over 37 years of experience working on lipid-based transport materials and

   mechanisms. Throughout this time, I have taught, researched, and practiced the formulation, use,

   characterization, and delivery of lipid particles. In my laboratory, I perform a wide range of studies

   on nucleic acid biotherapeutic delivery, including the formulation of lipid-based bio-responsive

   carrier systems. My laboratory also designs and synthesizes materials to improve the efficacy of

   such carrier systems in human tissue culture and animal models.

          6.      Since the 1990s, my work has focused on lipid-based drug carrier systems,

   including evaluating which systems were most efficient for intracellular drug delivery and

   mechanisms for improving the release of the drugs’ contents into cells.1 Starting around 2000, my

   research expanded to include not just drug, but nucleic-acid delivery via lipid-based carriers, and



   1
    See, e.g., V. C. Anderson and D. H. Thompson, Triggered Release of Hydrophilic Agents from
   Plasmalogen Liposomes Using Visible Light or Acid, Biochimica et Biophysica Acta, vol. 1109,
   pp. 33-42 (1992); D. H. Thompson et al., Triggerable Plasmalogen Liposomes: Improvement of
   System Efficiency, Biochimica et Biophysica Acta, vol. 1279, pp. 25-34 (1996); Y. Rui et al.,
   Diplasmenylcholine‐Folate Liposomes: An Efficient Vehicle for Intracellular Drug Delivery,
   Journal of the American Chemical Society, vol. 120, pp. 11213-11218 (1998).



                                                     2
                                                                                               JA00407
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   lipid-mediated transfection for in vitro and in vivo nucleic acid transfer.2 Since then, I have

   continued researching and formulating various types of vehicles for delivering therapeutic

   payloads, including the delivery of nucleic acids and lipid-based carrier systems.3

          7.      I have supervised over twenty-five Ph.D.-level graduate students with a primary

   emphasis on the development of lipid-based carriers and materials for building lipid-based carriers,

   including carriers to serve as gene-delivery vectors.

          8.      I have organized numerous conferences, including: “Materials Science of

   Phospholipid Assemblies” for the Material Research Society Symposium in 1999, “Drug

   Delivery” for the American Chemical Society Symposium in 2007, and “Advanced Materials

   Designs for Drug and Gene Delivery” for the American Chemical Symposium in 2013. I have

   been invited to speak at over 150 guest lectures for various events, universities, and research

   organizations regarding my work in various fields of study including the structure and design of

   gene carriers and lipid-based therapeutic delivery systems. I have also been invited to guest edit a



   2
     J. A. Boomer and D. H. Thompson, Synthesis of Acid‐Labile Diplasmenyl Lipids for Drug and
   Gene Delivery Applications, Chemistry and Physics of Lipids, vol. 99, pp. 145-153 (1999); J. A.
   Boomer et al., Formation of Plasmid‐Based Transfection Complexes with an Acid‐Labile Cationic
   Diplasmenyl Lipid: In Vitro and In Vivo Gene Transfer, Pharmaceutical Research, vol. 19, pp.
   1289-1298 (2002).
   3
     J. A. Boomer et al., Cytoplasmic Delivery of Liposomal Contents Mediated by an Acid‐Labile
   Cholesterol‐Vinyl Ether‐PEG Conjugate, Bioconjugate Chemistry, vol. 20, pp. 47-59 (2009)
   (“Boomer 2009”); H.-k. Kim et al., Effective Targeted Gene Delivery to Dendritic Cells via
   Synergistic Interaction of Mannosylated Lipid with DOPE and BCAT, Biomacromolecules, vol.
   13, pp. 636-644 (2012); A. Kulkarni et al., Pendant Polymer:Amino‐β‐Cyclodextrin:siRNA
   Guest:Host Nanoparticles as Efficient Vectors for Gene Silencing, Journal of the American
   Chemical Society, vol. 134, pp. 7596-7599 (2012); V. D. Badwaik, et al., Structure-Property
   Relationship for siRNA Delivery Performance of Cationic 2-Hydroxypropyl--cyclodextrin:
   Poly(ethylene glycol)-Poly(propylene glycol)-Poly(ethylene glycol) Polyrotaxane Vectors
   Biomaterials vol. 84, pp. 86-98 (2016); K. J. Wright et al. Organocatalytic Synthesis and
   Evaluation of Polycarbonate Pendant Polymer:-Cyclodextrin-based Nucleic Acid Delivery
   Vectors Macromolecules vol. 51, pp. 670-678 (2018); S. Samaddar et al. Immunostimulatory
   Response of RWFV Peptide-Targeted Lipid Nanoparticles on Bladder Tumor Associated Cells
   ACS Applied Bio Materials, vol. 4, pp. 3178-3188 (2021).


                                                    3
                                                                                             JA00408
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   special issue in Advanced Drug Delivery Reviews on stimulated release from lipid-based carrier

   systems and published four highly cited reviews in this area.

          9.      I have served as a reviewer for over 40 journals, including Science, Nature, Journal

   of the American Chemical Society, Bioconjugate Chemistry, Biophysical Chemistry, Chemistry

   of Materials, Chemistry & Physics of Lipids, Advanced Drug Delivery Reviews, Pharmaceutical

   Research, Journal of Controlled Release, Lipids, Journal of Membrane Science, Nanomedicine,

   and Organic & Biomolecular Chemistry.

          10.     I am listed as a co-inventor on 10 United States patents covering inventions related

   to many different types of technologies and materials including lipids, lipid-based carriers, and

   gene delivery, including for instance, U.S. Patent No. 5,277,913, which is titled “Liposomal

   delivery system with photoactivatable triggered release,” and U.S. Patent No. 6,979,460, which is

   titled “Vinyl ether lipids with cleavable hydrophilic headgroups,” and describes novel PEG-lipids.

          11.     I have also published more than 170 peer-reviewed scientific papers in the fields of

   physical chemistry, organic chemistry, bioconjugate chemistry, lipids, drug delivery, viral

   immunology including DNA-based vaccine development, biochemistry, and biomaterials science.

          12.     A copy of my curriculum vitae is provided in Appendix A and contains further

   details on my education, experience, publications, and other qualifications to render an expert

   opinion in this matter.

          13.     I am being compensated my customary rate of $600 per hour for my consultation

   in connection with this litigation. My compensation is in no way dependent on the outcome of my

   analysis or opinions rendered in this litigation.

   II.    ASSIGNMENT

          14.     I understand that Plaintiffs Arbutus Biopharma Corporation (“Arbutus”) and

   Genevant Sciences GmbH (“Genevant”) have asserted U.S. Patent Nos. 8,058,069 (“the ’069


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   patent”), 8,492,359 (“the ’359 patent”), 8,822,668 (“the ’668 patent”), 9,364,435 (“the ’435

   patent”), and 11,141,378 (“the ’378 patent”) (collectively, the “Lipid Composition Patents”), as

   well as U.S. Patent No. 9,504,651 (“the ’651 patent”), against Defendants Moderna, Inc. and

   ModernaTX, Inc. (collectively, “Moderna”) in this litigation.

          15.     I previously submitted declarations and was deposed concerning the ’435 and ’069

   patents in inter partes review (“IPR”) proceedings in Case Nos. IPR2018-00739 and IPR2019-

   00554 before the Patent Trial & Appeal Board (“PTAB” or “Board”) brought by Moderna

   Therapeutics, Inc.4 In those IPRs, I responded to Moderna’s assertion that the claims of the ’435

   and ’069 patents were unpatentable as either anticipated or obvious. I understand that the Board

   subsequently determined that claims 7-8, 10-11, 13, and 16-20 of the ’435 patent were not

   unpatentable, that none of the claims of the ’069 patent were unpatentable, and that these

   determinations were not disturbed on appeal by the Court of Appeals for the Federal Circuit.

          16.     I have now been asked by counsel for Plaintiffs to opine on how the person of

   ordinary skill in the art (“POSA”), in the context of the Lipid Composition Patents and the ’651

   patent, would interpret the following claim terms at the priority dates asserted by the parties:5

          •       “mol % of the total lipid present in the particle” as recited in claims 1, 8, 15, 20,
                  and 21 of the ’069 patent; claims 1, 7, 9, 10, 11, 12, 13, 18, 19 of the ’359 patent,
                  claims 1, 8, 10, and 15 of the ’668 patent, claims 1, 4, 7, and 8 of the ’435 patent;
                  and claims 1, 2, 7, 13, 18, 24, and 25 of the ’378 patent; and

   4
     I also submitted a declaration and was deposed concerning another patent, U.S. Patent No.
   9,404,127 (“the ’127 patent’)—which I understand has not been asserted and is not at issue in this
   case—in another IPR brought by Moderna Therapeutics, Inc., Case No. IPR2018-00680. I was
   deposed simultaneously concerning my declarations regarding the ’127 patent and the ’435 patent
   in the IPRs concerning those patents on February 4 and 5, 2019. I was separately deposed in the
   IPR concerning the ’069 patent on January 15, 2020.
   5
     I understand that beyond the filing date of the patents and the provisional applications to which
   the Lipid Composition Patents and the ’651 patent claim priority—which I discuss below, see infra
   § IV.A—Moderna contends August 1, 2013 to be a relevant priority date for the ’651 patent, and
   further contends that the Lipid Composition Patents are not entitled to a priority date earlier than
   April 15, 2009. My opinions do not change depending on the priority date applied.


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                                                                                              JA00410
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            •       “wherein at least 70% / at least 80% / about 90% of the mRNA in the
                    formulation is fully encapsulated in the lipid vesicles” as recited in claims 1, 13,
                    and 14 of the ’651 patent.

            17.     In reaching the opinions I express herein, I have considered the Lipid Composition

   Patents, all of which I understand share a common specification, see infra § IV.A; the ’651 patent;

   the prosecution histories of the Lipid Composition Patents and the ’651 patent; the materials cited

   in this declaration; as well as my training, general knowledge, basic principles, and experience in

   the relevant scientific disciplines.

   III.     TECHNICAL BACKGROUND

            A.      Lipid Nanoparticles

            18.     Gene therapies using nucleic acids such as DNA or RNA to manufacture

   therapeutic proteins (or to “silence” disease-causing genes) inside human cells have been a focus

   of sustained research since the discovery of DNA and the genetic code. These therapies hold the

   promise of targeting disease pathways in highly specific ways, but it has long been known that the

   promise of gene therapies would only be realized through the development of appropriate delivery

   vehicles. That is because therapeutic nucleic acids cannot simply be administered to a patient,

   e.g., by injection. Therapeutic nucleic acids require an effective vehicle to protect them from being

   destroyed by the human body before they are even able to reach a target cell, and once there, to

   transit across the cell membrane and deposit them inside the cell, where they can then exert their

   therapeutic effect. For this reason, the central challenge in gene therapy has long been “delivery,

   delivery, delivery.” Check 20036 at 11.

            19.     Lipid-based formulations for delivering nucleic acids have been explored since the

   late 1970s, but these early formulations differ markedly from the lipid nanoparticles (“LNP”) at



   6
       E. Check, RNA to the rescue?, Nature, vol. 425, pp. 10-12 (2003) (“Check 2003”).


                                                     6
                                                                                              JA00411
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   issue in this case. The first generation of nucleic acid delivery systems that were developed

   included cationic liposome nucleic acid complexes. These formulations have been described

   structurally as resembling “spaghetti” and “meatballs,” where “tubules” of lipid-coated strands of

   nucleic acids (the “spaghetti”) are interspersed with the cationic liposome-nucleic acid

   “lipoplexes” (the “meatballs”), shown schematically below:




   Sternberg 19947 at 364 (Figure 2). These cationic lipoplexes “enhance uptake by recipient cells,”

   but are generally understood not to achieve “true encapsulation” of their nucleic payload.

   Sternberg 1994 at 361, 365.


   7
     B. Sternberg et al., New structures in complex formation between DNA and cationic liposomes
   visualized by freeze-fracture electron microscopy, FEBS Letters, vol. 356, pp. 361-66 (1994)
   (“Sternberg 1994”).


                                                   7
                                                                                           JA00412
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          20.     The LNPs at issue in this case differ from cationic lipoplexes and are generally

   comprised of three or four lipid components: (1) “cationic” (or “ionizable” lipids or “aminolipids”)

   that are neutral or uncharged at physiological pH (approximately pH 7) but which become

   positively charged at low pH due to the presence of nitrogen- or amine-bearing chemical groups;

   (2) cholesterol and (3) phospholipids, which are “structural” lipids that maintain the LNP structure;

   and (4) conjugated lipids that contain a lipid “anchor” attached (or “conjugated”) to a hydrophilic

   component, generally polyethylene glycol or “PEG.” The hydrophilic nature of PEG reduces the

   propensity of LNPs to aggregate or fuse during manufacture and also “shields” them from being

   rapidly cleared in the bloodstream. However, PEG-lipids can also can interfere with the ability of

   LNPs to fuse with cell membranes.

          21.     The LNPs at issue in this case generally are formed by the self-assembly of the

   lipids and the nucleic acids into particles. In particular, when the lipid components and nucleic

   acid are combined under certain conditions, they form LNPs due to the electrostatic interaction of

   the positively charged ionizable lipid (the cationic state of the lipid) with the negatively charged

   nucleic acid, as well as clustering of the lipids together to minimize their contact with water (the

   same phenomenon behind the formation of oil droplets in water). The resulting particles have a

   lipid outer layer surrounded by a “corona” of hydrophilic PEG domains from the conjugated lipid

   at the particle surface, which are so oriented due to the affinity of the PEG for water. The nucleic

   acid resides in the interior of the LNP, surrounded by the cationic lipid, phospholipid, and

   cholesterol. Various schematic or “cartoon” depictions of LNPs from the literature reflect this

   consensus understanding of their structure, including the following:




                                                    8
                                                                                              JA00413
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                                 Samaridou 2020,8 Graphical Abstract




   The “Amino Lipid” above corresponds to the cationic lipid, while the “Structural Lipid”

   encompasses the phospholipid. See Samaridou 2020 at 38-41; see also, e.g., Kulkarni 2018,9

   Figure 6; Buschmann 2021,10 Figure 2.

          B.      Significant Figures & Rounding

          22.     The concept of significant figures and rounding is a standard scientific convention

   that is used to understand the meaning and scope of numeric values. As a general matter in my

   field, the significant figures in a numeric value refer to those digits that carry “practical meaning.”




   8
      E. Samaridou et al., Lipid nanoparticles for nucleic acid delivery: Current perspectives,
   Advanced Drug Delivery Reviews, vols. 154-55, pp. 37-63 (2020) (“Samaridou 2020”), available
   at https://www.sciencedirect.com/science/article/abs/pii/S0169409X2030048X.
   9
      J. A. Kulkarni et al., On the Formation and Morphology of Lipid Nanoparticles Containing
   Ionizable Cationic Lipids and siRNA, ACS Nano, vol. 12, pp. 4787-95 (2018) (“Kulkarni 2018”).
   10
       Michael D. Buschmann et al., Nanomaterial Delivery Systems for mRNA Vaccines, Vaccines
   (Basel), vol. 9, no. 65 pp. 1-30 (Jan. 19, 2021) (“Buschmann 2021”).



                                                     9
                                                                                                JA00414
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   Remington 200011 at 103.       As Remington—a widely used and authoritative treatise in the

   pharmaceutical field—summarizes, “[w]eighing and measuring can be carried out only with a

   certain maximum degree of accuracy; the result always is approximate due to the many sources of

   error such as temperature, limitations of the instruments employed, personal factors, and so on.”

   Id. In a measured value such as 473 mL (milliliters), there are three significant figures, “the last”

   or rightmost “significant figure is only approximate,” and “it is understood that the measurement

   had been made somewhere between 472.5 and 473.5 mL.” Id. The significant figures in a numeric

   value are thus understood to encompass a range of values having greater precision, or more

   significant figures, all of which round to the numeric value in question.

          23.     Rounding also comes into play when comparing values having different significant

   figures. As explained in the United States Pharmacopeia (“USP”)—an official compendia of

   reference standards in the pharmaceutical industry and another authoritative text that reflects the

   conventional understanding of scientists working in the field—when considering a “stated limit”

   (such as a range in a patent claim), the limit values “are considered significant to the last digit

   shown.” USP 2312 at 3. Put another way, the number 473 has three significant digits, as does the

   number 470, since the “4” is significant, and all ensuing digits are significant to the “last digit

   shown,” whether a 3 or a 0. And because analytical results (whether “observed” or “calculated”)

   generally contain more significant figures than the “stated limits,” “the observed or calculated

   result” must be “rounded off to the number of places that is in agreement with the limit expression”

   using the following procedure:




   11
      Remington: The Science and Practice of Pharmacy Twentieth Edition (Alfonso R. Gennaro et
   al. eds., 2000) (“Remington 2000”).
   12
      United States Pharmacopeia, Twenty-third Revision (1995) (“USP 23”).


                                                    10
                                                                                              JA00415
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   USP 23 at 4. To explain the above procedure, which would be well understood by those working

   in the field, for the first limit shown—the range “≥98.0%” (greater than or equal to “98.0%”)—

   the POSA would understand there to be 3 significant figures, where the last significant digit is the

   “0” in the tenths decimal place, the last digit shown. The zero after the decimal point is called a

   trailing zero. This last significant digit (in this case, a trailing zero) is important to ascertaining

   whether values fall within this limit, because any value stated with one or more additional digits

   that rounds up to “98.0%” would be within the limit. “97.95%” for instance contains one

   additional digit compared to “98.0%,” in the hundredths decimal place. To compare “97.95%” to

   “≥98.0%,” the POSA would determine whether the additional digit is greater than or equal to 5,

   and if so add 1 to the preceding digit. Here, 9 plus 1 is 10 and so “97.95%” rounds up to “98.0%”

   and would be within the limit. However, in “97.92%,” the additional digit is 2, which is less than

   5, and does not round up, and thus “97.92%” is simply “97.9%” when compared to “98.0%” and

   is thus not within the limit “≥98.0%.”


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            24.    As a comparison, in the limit range “≤0.02%” (less than or equal to “0.02%”), the

   POSA would understand that the leading zeros before the 2 are not significant. Thus, only the last

   digit shown (“2”) is significant, and “0.02%” contains only one significant figure. “0.025%”

   contains an additional digit (“5”) that is greater than or equal to 5, and thus in comparing this value

   to “0.02%,” the preceding digit is rounded up to “0.03%” which is not less than or equal to “0.02%”

   and accordingly “0.025%” is not within the limit.

   IV.      PATENTS-IN-SUIT

            A.     Lipid Composition Patents

            25.    I understand from counsel that the five Lipid Composition Patents belong to the

   same “family” in that all of them claim priority to U.S. Provisional Application No. 61/045,228

   filed April 15, 2008, and/or are direct or indirect continuations of U.S. Patent Application No.

   12/424,367, filed April 15, 2009, which was granted and issued as the ’069 patent.

            26.    I further understand from counsel that the Lipid Composition Patents share a

   common specification based on their relationship as continuing applications but that the claims

   found at the end of each patent differ. The following table summarizes the dates and application

   numbers associated with the Lipid Composition Patents:

         U.S. Patent No.           Issue Date:            U.S. Application No.        Filing Date:
                                                              61/045,228             April 15, 2008
           8,058,069
                               November 15, 2011              12/424,367             April 15, 2009
      (“the ’069 patent)
           8,492,359
                                  July 23, 2013               13/253,917            October 5, 2011
      (“the ’359 patent)
           8,822,668
                               September 2, 2014              13/928,309             June 26, 2013
      (“the ’668 patent)
           9,364,435
                                  June 14, 2016               14/462,441            August 18, 2014
      (“the ’435 patent)
          11,141,378
                                October 12, 2021              17/227,802             April 12, 2021
      (“the ’378 patent)




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          27.     The Lipid Composition Patents provide for “novel, stable lipid particles comprising

   one or more active agents or therapeutic agents, methods of making the lipid particles, and methods

   of delivering and/or administering the lipid particles.” ’069 patent,13 Abstract. The Lipid

   Composition Patents in particular describe “stable nucleic acid-lipid particles (SNALP) that

   advantageously impart increased activity of the encapsulated nucleic acid (e.g., an interfering RNA

   such as siRNA) and improved tolerability of the formulations in vivo, resulting in a significant

   increase in the therapeutic index.” ’069 patent, 5:51-56.

          28.     Claim 1 of the ’069 patent, which is one of the claims reciting the disputed term,

   “mol % of the total lipid present in the particle,” is reproduced below:




          B.      The ’651 Patent

          29.     The ’651 patent is titled “Lipid Compositions for Nucleic Acid Delivery” and

   teaches “processes and apparatus for making lipid vesicles that optionally contain a therapeutic

   agent.” ’651 patent, 2:12-14. The ’651 patent was filed on June 13, 2014, and claims priority to

   U.S. Provisional Application No. 60/392,887 filed on June 28, 2002.



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     For convenience, I have generally only cited to one of the Lipid Composition Patents in referring
   to the shared specification, but my opinions regarding citations to that patent’s specification apply
   equally to all of the Lipid Composition Patents.


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          30.     The ’651 patent discloses that the “invention can be used to form lipid vesicles that

   contain encapsulated plasmid DNA or small molecule drugs.” Id. at 2:16-18. The inventors of

   the patent discovered new ways to synthesize these vesicles, including with a device called a “T-

   connector.” See ’651 patent, Figure 13. The patent discloses that the inventors obtained vesicles

   with various beneficial properties, including the ability to encapsulate a surprisingly high

   percentage of the nucleic acid inside vesicles, thereby protecting the nucleic acid from degradation

   when the vesicles are administered to patients. Id. at 15:19-56, 18:30-43. The ’651 patent claims

   particular lipid compositions having those improved properties.

          31.     Claims 1, 13, and 14 of the ’651 patent are reproduced below:




   V.     LEGAL STANDARDS

          32.     I understand from counsel that patent claim terms are generally given the plain and

   ordinary meaning that they would have had to the POSA as of the relevant date. I have been asked

   to assume the relevant date of the Lipid Composition Patents to be April 15, 2008, and the relevant

   date of the ’651 patent to be June 28, 2002. As I discuss above, my opinions in this declaration

   would not change if I were to assume a different date. See supra § II & note 5.


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          33.     I further understand from counsel that the plain and ordinary meaning of claim

   terms must be considered in the context of the entire patent claims in which they appear, as well

   as in the context of the other claims, the specification, and the prosecution or file history of the

   patent—that is, the complete record of the proceedings, filings, and communications exchanged

   between the patent applicant and the U.S. Patent & Trademark Office (“Patent Office” or “PTO”)

   during examination—taken as a whole. I understand that the patent specification is the single best

   guide to the meaning of a claim term. I further understand that the claims, specification, and the

   file history constitute the “intrinsic evidence” of the patent relevant to claim construction.

          34.     I understand that an applicant may depart from the plain and ordinary meaning of

   a claim term in two instances. First, an applicant may provide a definition in the specification that

   differs from the plain and ordinary meaning, in which case the inventor’s definition governs.

   However, I understand that any such definition must be clearly stated. Second, an applicant may

   disclaim the full scope of a term, such that the invention must include or not include a particular

   feature. I understand, however, that any such disclaimer must be clear and unmistakable in the

   specification and/or the prosecution history.

          35.     In addition to the “intrinsic evidence” above, I understand that certain “extrinsic

   evidence,” such as expert and inventor testimony, dictionaries, and learned treatises, also may shed

   useful light on the relevant art and the way in which the POSA might use the claim term. However,

   I further understand that such extrinsic evidence must always be considered in the context of the

   patent’s intrinsic evidence when determining the meaning of a claim term. In particular, I

   understand that extrinsic evidence may not be used to contradict a claim meaning that is

   unambiguous in light of the intrinsic evidence.




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   VI.     THE PERSON OF ORDINARY SKILL IN THE ART

           36.     I understand that in IPR2018-00739, the Board adopted the following definition of

   the POSA with respect to the ’435 patent:

                   Accordingly, we find in the record as a whole that a person of
                   ordinary skill in the art would have specific experience with, and/or
                   be generally familiar with, lipid particle formation and use in the
                   context of delivering therapeutic payloads, and would have a Ph.D.,
                   an M.D., or a similar advanced degree in an allied field (e.g.,
                   biophysics, microbiology, biochemistry) or an equivalent
                   combination of education and experience.

           37.     I understand that the Board adopted the same definition in IPR2018-00554 with

   respect to the ’069 patent. I further understand that the Board found me to possess at least the

   level of ordinary skill in the art under this definition, and I also note that I possessed the

   qualifications of the POSA as of any of the possible priority dates. See supra § II.16 & note 5. In

   this declaration, I have been asked to apply this definition and to explain the meaning of disputed

   terms to the POSA in the context of the specification and, where relevant, the file history. The

   opinions expressed in this report are provided from the vantage point of the POSA.

           38.     As I have discussed, I understand that the ’435 patent shares a common

   specification with the other Lipid Composition Patents, including the ’069 patent, and that

   Moderna previously applied this definition in the previous IPR proceedings. For the purposes of

   this declaration, I have applied this definition of the POSA adopted by the Board with respect to

   both the Lipid Composition Patents and the ’651 patent. My opinions in this declaration would

   not change if I were to adopt a slightly different definition of the POSA. I reserve the right to

   opine further on the POSA’s qualifications in light of any evidence offered by Moderna regarding

   the level of the ordinary skill in the art.




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   VII.   CLAIM CONSTRUCTION

          A.      Lipid Composition Patents: “mol % of the total lipid present in the particle”

                Plaintiffs’ Construction                          Moderna’s Construction
    Plain and ordinary meaning, i.e., “mol % of the “__ mol % of the total lipid present in the
    total lipid present in the particle”            finished lipid particle”

    The recited “mol %” ranges are understood to Where the asserted claims do not recite “about
    encompass their standard variation based on __ mol %,” Moderna contends that the recited
    the number of significant figures recited in the “__mol%” ranges are understood as the exact
    claim.                                           ranges recited in the claim.
        ’069 Patent, Claims 1, 8, 15, 20, 21; ’359 Patent, Claims 1, 7, 9, 10, 11, 12, 13, 18, 19;
                    ’668 Patent, Claims 1, 8, 10, 15; ’435 Patent, Claims 1, 4, 7, 8;
                               ’378 Patent, Claims 1, 2, 7, 13, 18, 24, 25

          39.     I understand that while Plaintiffs contend that the term “mol % of the total lipid

   present in the particle” recited in the claims of the Lipid Composition Patents should be construed

   in accordance with its plain and ordinary meaning, Moderna has proposed that the term instead be

   construed to mean “__ mol % of the total lipid present in the finished lipid particle,” which adds

   the words “finished” and “lipid” to the claim text. Moderna also contends that the POSA would

   understand the recited mol % ranges “as the exact ranges recited in the claim.” I understand that

   Moderna has clarified that “the exact ranges” referenced in its construction means that a value

   such as 49.999 mol % would not fall within the range of “from 50 mol % to 65 mol %” recited in

   claim 1 of the ’069 patent, for example. For the reasons below, I disagree with both aspects of

   Moderna’s proposed construction.

                  1.      The meaning of “particle” in the context of the specification and file
                          history is not limited to a “finished” particle, as Moderna uses the
                          word “finished.”

          40.     I understand that Moderna’s construction is similar to the one Plaintiffs proposed

   but adds the term “finished” to the construction. I understand that Moderna has reasoned that the

   term “finished” must be read into the claims because, in their view, the asserted claims of the Lipid

   Composition Patents only encompass particles that are the “finished product,” or a “final nucleic


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   acid-lipid particle” that does not undergo any further manufacturing steps. Moderna Invalidity

   Contentions at 137-39. I disagree. In my opinion, the POSA would understand that the claims

   encompass a nucleic acid-lipid particle without limitation as to when in the manufacturing process

   the particle is formed.

           41.       The term “particle” as used in the claims clearly refers to the “nucleic acid-lipid

   particle” set forth previously in the claim and described in the Lipid Composition Patents. I

   understand that the PTAB has already construed “nucleic acid-lipid particle” as “a particle that

   comprises a nucleic acid and lipids, in which the nucleic acid may be encapsulated in the lipid

   portion of the particle.” ’435 Patent Final Written Decision, IPR2018-00739, Paper No. 51 at 13

   (P.T.A.B. Sept. 11, 2019). I understand that neither party is presently contesting that construction.

   I note that entirely absent from that definition is any limitation that these particles be “finished,”

   as Moderna uses that term.

           42.       The specification describes that “the lipid particles of the present invention” can be

   formed by any method including, but not limited to, a continuous mixing method or a direct

   dilution process.” E.g., ’378 patent, 59:27-33. For example, the specification teaches that “[b]y

   mixing [an] aqueous solution comprising a nucleic acid with the organic lipid solution, the organic

   lipid solution undergoes a continuous stepwise dilution in the presence of the buffer solution (i.e.

   aqueous solution) to produce a nucleic acid-lipid particle.” Id. at 59:66-60:12. The specification

   makes clear that nucleic acid lipid particles formed as a result of this process are particles that are

   embodiments within the scope of the claims. The specification also discloses, however, additional

   embodiments for which “the methods will further comprise” additional processing to refine the

   particle.     Id. at 61:37-62:27.    These resulting particles, which have undergone subsequent

   processing after formation, are also disclosed to be within the scope of the claims. Contrary to




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   Moderna’s proposed construction, the POSA would recognize that the specification does not

   include a limitation related to whether a particle will or will not undergo these post-formation

   modifications.

          43.       The POSA reading the asserted claims of the Lipid Composition Patents would

   understand they cover nucleic acid-lipid particles without any restrictions on whether the particles

   will be subjected to any further manufacturing steps. Neither “finished” nor any other language

   imposing such a restriction is present in any of the claims. The POSA would understand the term

   “particle” as used in the claims to refer to any formed particle, irrespective of whether it was the

   particle in the final drug product or whether it would be subjected to additional manufacturing and

   processing steps, including those that can change the particle and its composition.

          44.       The specification of the Lipid Composition Patents uses the term particle

   consistently with its ordinary meaning in the field. In the context of the specification, the term

   “mol % of the total lipid present in the particle” is not limited by whether the nucleic acid-lipid

   particle is formed mid-way through manufacturing and subject to further processing or

   manufacturing steps, or at the end of the manufacturing process. Particles that are formed at each

   of those stages are “particles” within the ordinary meaning of that term to the POSA in the context

   of the specification. E.g., ’378 patent, 59:25-62:27.

          45.       The POSA would recognize that the specification provides definitions of the

   nucleic acid-lipid particles recited in the claims. E.g., ’378 patent, 11:42-12:8, 57:60-67, 59:25-

   32. The specification describes a “lipid particle” as a “lipid formulation that can be used to deliver

   an active agent or therapeutic agent, such as a nucleic acid.” Id. The specification explains that

   “stable nucleic acid-lipid particles” or “SNALPs” are within the scope of the invention, e.g., ’378

   patent, 12:8-10 (“The lipid particles of the invention (e.g., SNALP)”), and further defines a




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   SNALP as “a particle made from lipids (e.g., a cationic lipid, a non-cationic lipid, and a conjugated

   lipid that prevents aggregation of the particle), wherein the nucleic acid . . . is fully encapsulated

   within the lipid.” Id. at 11:51-55.

          46.     As discussed above, I understand that during the IPR of the ’435 patent, the PTAB

   adopted a definition of a “nucleic acid-lipid particle” consistent with that disclosed in the

   specification. ’435 Patent Final Written Decision, IPR2018-00739, Paper No. 51 at 13 (P.T.A.B.

   Sept. 11, 2019).     Consistent with the term’s ordinary meaning, these definitions lack any

   limitations as to how the particle is formed, when in the manufacturing process it is formed, or

   whether it is subjected to further processing. Rather, the specification recites that the particles can

   be “formed by any method known in the art.” ’378 patent, 59:25-32. The POSA would understand

   the claims at issue in the Lipid Composition Patents are product claims that do not require any

   particular manufacturing process or that any manufacturing process be completed in order to

   constitute a “particle” within the meaning of the claims. Therefore, the claimed particle need not

   be “finished” in the sense that Moderna uses that word, as not being subject to further processing.

   The claimed “particle” need only be “formed,” and until it is, there is no particle.

          47.     Moderna’s use of the term “finished” is not synonymous with the term “formed”

   used in the specification’s definition. Rather, Moderna’s use of “finished” adds a temporal

   limitation to the claims because, under its construction, only the last-in-time particle of a

   manufacturing process would be within the scope of the claims. That interpretation is contrary to

   the ordinary meaning of particle in the field, in the context of the specification. The POSA would

   recognize that the specification expressly discloses embodiments that contravene Moderna’s

   interpretation and teaches that particles within the claims can be modified and subject to further

   processing, “if needed.” Id. at 61:4-62:27. Whether those further processing steps are performed




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   does not affect whether the particle, before further processing, is a “particle” within the meaning

   of the claim; it plainly is, per the specification’s disclosures. The specification’s embodiments

   would inform the POSA and confirm that the patent claims, in referring to a particle, do not require

   a “finished” particle (as I understand Moderna uses that term to refer to a particle not subject to

   further manufacturing steps), but rather just a formed particle.

          48.     As I discussed above, the specification describes several manufacturing methods

   for producing the “lipid particles of the claimed invention,” including by a “continuous mixing

   method” or by a “direct dilution process.” Id. at 59:27-65. The patent discloses that the “SNALP

   formed” by these processes can have particular properties and are within the claims. Id. at 59:66-

   61:4. The use of the term SNALP to refer to these structures confirms clearly that they are

   particles; in the SNALP acronym, the “P” stands for “particle,” the precise word used in the claim.

   E.g., id. at 11:51-55 (“As used herein, the term ‘SNALP’ refers to a stable nucleic acid-lipid

   particle.”). The specification then teaches that “if needed,” these particles can undergo further

   processing like homogenization, sonication, or extrusion. Id. at 61:4-62:27. Homogenization is a

   technique for sizing particles wherein an initial heterodisperse liposome preparation is pumped

   under high pressure through a small orifice or reaction chamber until a desired average size of

   liposome particles is achieved. U.S. Patent No. 4,737,323 (issued Apr. 12, 1988) at 1:44-2:44.

   Sonication is another technique for sizing particles and can be done using probe tips to deliver

   high energy input to the lipid suspension in order to break particles apart. Id. Extrusion is a

   technique in which a lipid suspension is forced through a polycarbonate filter with a defined pore

   size to yield particles of a desired size. These processes can result in new particles that may have

   lipid molar ratios that are different from the particles prior to these processes. E.g., ’378 patent,

   61:16-18 (“Homogenization is another method which relies on shearing energy to fragment larger




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   particles into smaller ones.”). Consistent with these teachings, the POSA would understand that

   particles formed before any such further processing, as well as particles resulting from these

   additional manufacturing steps, are both identified as SNALPs—“particles”—and are thus within

   the scope of the term “particle” in the claims (of course, the particles must meet the claims’

   additional limitations to fall within the scope of the claims as a whole).

           49.     As an additional example, the specification discloses methods for forming

   “SNALP-CPLs.” E.g., ’378 patent, 62:8-62:27. SNALP-CPLs are described as “lipid particles of

   the invention” that contain cationic polymer lipid conjugates, or “CPLs.” Id. at 22:28-46. The

   specification teaches that the POSA can create these particles by either using the “standard”

   technique—wherein “the CPL is included in the lipid mixture during, for example, the SNALP

   formation steps,” or the “post-insertion” technique—which is “insertion of a CPL into, for

   example, a pre-formed SNALP.” Id. at 62:8-27. In the “post-insertion” technique, a SNALP (a

   “particle”) is formed, and then it is subjected to a further manufacturing process—called the “post-

   insertion” technique, in which a CPL is inserted “into . . . a pre-formed SNALP,” resulting in a

   different SNALP. Id. In other words, the specification expressly teaches that “the lipid particles

   of the invention” “may comprise” this additional lipid, and refers to the particles before the

   insertion of this additional lipid as “SNALPs” within the scope of the claims. Id. at 22:28-46,

   62:8-27. Likewise, the specification teaches that the resulting “SNALP-CPLs,” which may have

   altered lipid ratios following the insertion of the additional lipid, is equally within the scope of the

   claims. Under Moderna’s construction, however, only one of these categories of particles—those

   that did not undergo subsequent processing—would be encompassed by the claims’ use of the

   word “particle.”

           50.     The specification also explains that certain methods of the invention may include




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   “adding non-lipid polycations which are useful to effect the lipofection of cells using the present

   compositions,” and that “[a]ddition of these salts is preferably after the particles have been

   formed.” ’378 patent, 61:38-47. Under Moderna’s construction, however, these pre-addition

   particles would be outside the scope of the claims, even though they are explicitly referred to as

   “particles” by the specification.

          51.     There is nothing in the specification that would suggest to the POSA that the term

   “finished” (as Moderna uses it to require that a particle is not subject to further manufacturing

   steps, as opposed to synonymously with “formed”) should be read into the claims. The word

   “finished” never modifies “lipid particles” anywhere in the specification. That term is used only

   in the context of the “Finished Product Characterization” in Tables 2, 4, 6, and 7. There, the POSA

   would understand that the term “finished” is used to distinguish the starting materials and the

   formed particles, consistent with other disclosures in the specification drawing a similar

   distinction. ’378 patent, 25:55-59, 61:48-62:8 (distinguishing “nucleic acid to lipid ratios . . . in a

   formed SNALP” from “ratio of the starting materials”), 70:32-43. That is also consistent with the

   understanding in the field, since the manufacturing process can result in a deviation in the lipid

   ratios of the formed particles as compared to the ratio of the starting material inputs. The POSA

   would understand that the claims do not encompass the lipid starting materials—they are not a

   “particle” that has been formed.

          52.     Regardless of what “finished” means in the tables, the term “particle” in the claim

   is not limited to a particle that is not subject to further manufacturing steps. Neither the inclusion

   of the term “finished” nor anything else in the specification would lead the POSA to conclude that

   the claims are limited to lipid particles that undergo no subsequent manufacturing steps and

   somehow exclude formed “particles” that are further modified or processed. Such an interpretation




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   is contrary to the POSA’s understanding of the plain meaning of the term “particle” and the clear

   disclosure of the specification, which deems structures to be “particles” once they are formed, even

   if they undergo further manufacturing or processing. E.g., ’378 patent, 22:28-46, 61:4-62:27.

          53.     I understand that Moderna has cited statements made by Plaintiffs and by me as an

   expert during the IPR of the ’435 patent, as well as the appeal that followed, as support for reading

   into the claim language a requirement that the particle not be subject to further manufacturing

   steps. As I stated above, I submitted a declaration in those proceedings in which I provided expert

   opinions on the patentability of the claims of the ’435 patent in view of the asserted grounds and

   the cited prior art. In particular, I responded to Moderna’s claim that a patent publication (US

   2006/0240554 or the “’554 publication”) anticipated the challenged claims in view of its disclosure

   of a formulation termed L054. I opined that the ’554 publication failed to anticipate the challenged

   claims in part because “[t]he L054 lipid formulation identified in Table 4 of the ’554 publication

   is a listing of lipid components or mixture of lipids used to form particles, not a nucleic acid-lipid

   particle as claimed.” IPR2018-00739, Exhibit No. 2009 (“Thompson ’435 IPR Decl.”) ¶ 110. I

   have excerpted the relevant portion of Table 4 from the ’554 publication below:




   The L054 lipid formulation identified in Table 4 of the ’554 publication is a listing of lipid

   components or mixture of lipids used to form particles—the input starting materials—not a nucleic

   acid-lipid particle as claimed in the Lipid Composition Patents. There is no disclosure in the ’554

   publication regarding the composition of particles generated or formed using the L054


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   formulation. In distinguishing the ’435 patent claims from the prior art, I distinguished the

   “claimed” “particle” from “components or mixture of lipids used to form particles”—in other

   words, the difference between the formed particle and the starting materials used to form it. Id.

          54.     Further explaining this distinction, I noted that Moderna’s argument “confuse[d]

   the composition of the input formulation (i.e., lipids of Table 4 [of the asserted prior art ‘554

   publication]) with something different—i.e., the output formulation (i.e. lipid particles)” and that

   Moderna’s anticipation argument necessarily failed because “there is no disclosure in the ’554

   publication regarding the composition of particles generated using the L054 formulation.”

   Thompson ’435 IPR Decl. ¶ 110. As I explained, “[t]his is an important distinction because a

   person of ordinary skill in the art would not assume that the composition of a lipid particle will be

   exactly the same as the composition of the lipid formulation utilized as a mixture of lipids to make

   the particles.” Id. I also noted that both the ’435 patent and the ’554 publication presented data

   that “input and output formulations are not identical” and that “the lipid to drug ratio (i.e., lipid to

   nucleic acid ratio) calculated from the input components is not identical to that of the finished

   product.” Id. ¶ 111. As such, I discussed that “[t]esting of the finished particle composition is

   necessary to account for variations in the molar fractions of the lipid components in the starting

   lipid formulation compared to the molar fractions of the lipid components in the resulting

   particles.” Id. ¶ 110.

          55.     As is evident from this discussion, my IPR declaration, and Plaintiffs’ materials

   that cite my declaration, I used the term “finished product” to refer to a nucleic acid-lipid particle

   that was actually formed, as distinguished from the starting materials used to form it. As I

   discussed above, that is consistent with the use of the term “finished” in the context of the patent

   specification and in the field more generally. The final product administered to patients, at the end




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   of the manufacturing process, is indeed a particle within the scope of the claim. But so too are

   particles formed during the manufacturing process that are subject to further manufacturing or

   processing steps; those particles are likewise formed or finished particles, as distinguished from

   starting materials that can have a different lipid composition and ratio. My statements during the

   IPR distinguished starting materials from formed particles; they did not suggest that the nucleic

   acid-lipid particle must be free from any additional processing in order to fall within the scope of

   the claims, and I disagree with Moderna’s contention that the claims contain such a limitation.

                  2.      The POSA would interpret the claimed mol % ranges using
                          significant figures and rounding.

          56.     As I discuss above, significant figures and rounding are standard scientific

   conventions that the POSA would have been aware of and would have applied in interpreting the

   claims of the Lipid Composition Patents. With respect to the recited mol % ranges, the POSA

   would have known that lipid concentrations could be experimentally determined, for example,

   using high-performance liquid chromatography (“HPLC”). See, e.g., Tam 200014 at 1872 (“The

   final lipid concentration was determined by HPLC analysis.”); Heyes 200615 at 282, 284 (“To

   ascertain lipid stability, we studied lipid concentrations over time in SPLP samples stored at

   different temperatures. Formulations . . . were examined by HPLC for degradation at 5, 25 and 40

   °C.”). Accordingly, the POSA would have known that mol % values, as with measured values

   more generally in the field, are subject to numerical uncertainty, and would have interpreted the

   claimed mol % ranges, in the context of the patent specification, using the standard convention of

   significant figures and rounding. See supra § III.B.


   14
       P. Tam et al., Stabilized plasmid-lipid particles for systemic gene therapy, Gene Therapy, vol.
   7, pp. 1867-74 (2000) (“Tam 2000”).
   15
      J. Heyes et al., Synthesis and characterization of novel poly(ethylene glycol)-lipid conjugates
   suitable for use in drug delivery, Journal of Controlled Release, vol. 112, pp. 280-90 (2006)
   (“Heyes 2006”).


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          57.     The intrinsic evidence establishes that the POSA would have understood the

   inventors to have expressed the claimed mol % ranges using significant figures. In particular, the

   specification shows that the inventors used significant figures to express mol % with varying

   precision, consistent with how significant figures are used and applied in the field. Table 2 of the

   specification, for instance, lists mol % values for different compositions in terms of a ratio of the

   PEG-lipid PEG(2000)-C-DMA to cationic lipid DLinDMA to phospholipid DPPC to cholesterol.

   Several examples in Table 2 state mol % for each of the lipid components with no digits in the

   tenths position, but others include values where the inventors used digits, including trailing zeros,

   to indicate precision to tenths. That distinction is a clear indication that the inventors, consistent

   with standard convention, used significant digits to convey the degree of precision and rounding

   to apply to the percentages of lipids in the claimed particles. The use of trailing zeros (shown

   below as zeros after the last non-zero digit following a decimal point) in particular further confirms

   to the POSA that the inventors were aware of and used significant figures to express mol % values

   with different degrees of precision. I have highlighted these trailing zeros in Table 2 below:




   ’069 patent, 69:24-45.


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          58.     Table 4 similarly reflects the inventors’ use of trailing zeros and significant digits

   to state mol % values with different degrees of precision:




   ’069 patent, 71:24-53.

          59.     Simply put, there is no reason to use numbers like “40” (in the first example in the

   table) and then numbers like 60.0 (in group number 10), other than to convey that the latter has

   more significant digits for rounding purposes than the former. Were the inventors not applying

   significant digits, they would have reported the values in the same way, such as 40 and 60; the

   POSA would have understood the specification to use significant figures and rounding in

   accordance with their usual convention.       The specification clearly conveys the number of

   significant digits used with each reported value, and the POSA would have credited that disclosure

   in interpreting the values in the claims.




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             60.   The plain and ordinary meaning of the mol % ranges recited in the claims of the

   Lipid Composition Patents thus would be interpreted by the POSA using the ordinary rules of

   significant figures and rounding. Illustratively, claim 1 of the ’069 patent recites “a cationic lipid

   comprising from 50 mol % to 65 mol %.” ’069 patent, 91:26-27. The lower endpoint of the range

   “50 mol %” is “significant to the last digit shown,” USP 23 at 3, and thus contains two significant

   figures and has precision (or is significant to) to the units place. A value of “49.4 mol %” has an

   additional significant figure (“.4”) compared to “50 mol %.” “[T]his digit is smaller than 5,” and

   thus “it is eliminated and the preceding digit is unchanged,” leaving the rounded value for

   comparison “49 mol %.” A value of “49.5 mol %” also contains an additional significant figure

   (“.5”) but it “equals 5,” and so “the 5 is eliminated and preceding digits is increased by 1, leading

   to a rounded value of “50 mol %.” Thus, under the ordinary rules of rounding, “50 mol %” would

   be understood by the POSA to encompass values of 49.5 mol % or higher. The following table

   summarizes this analysis with respect to the mol % ranges in claim 1 of the ’069 patent.16

        ’069 Patent, Claim 1         Recited Range               Lower Limit           Upper Limit
           Cationic Lipid       “50 mol % to 65 mol %”            49.5 mol %           65.4 mol %
            Phospholipid         “4 mol % to 10 mol %”             3.5 mol %           10.4 mol %
             Cholesterol        “30 mol % to 40 mol %”            29.5 mol %           40.4 mol %
          Conjugated Lipid      “0.5 mol % to 2 mol %”            0.45 mol %            2.4 mol %

             61.   Moderna’s approach, in contrast, requires “50 mol %” to be read quite differently

   than this plain and ordinary meaning.         I understand from counsel that under Moderna’s

   interpretation of the “exact ranges” set forth in its construction, a value of “49.999 mol %” would

   not fall within the claimed range of “from 50 mol % to 65 mol %.” Moderna contends that any




   16
     Counterfactually, if “50.0 mol %” were recited instead of “50 mol %,” then “49.5 mol % has
   the same precision as “50.0 mol %” and does not round. Instead, following the same protocol
   above, see supra § III.B, the value “49.95 mol % would round up to “50.0 mol %” and the value
   “49.94 %” would round to “49.9 mol %.”


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   value numerically less than “50” falls would fall outside this range, thereby rewriting “50 mol %”

   instead to have an infinite number of trailing zeros after the decimal point. This may be denoted,

   by standard convention, with a horizontal bar over the trailing zero in 50.0. No such denotation

   or other indication of infinite precision is present in the claims.

           62.     I disagree with Moderna’s construction. Based on my review of the specification

   and prosecution history, there is no support for reading in additional precision into the claimed

   mol % values. The specification in fact reflects, to the contrary, that the inventors described mol

   % values with the precision reflected in the claims; when more precision was intended, additional

   significant figures were used. I have discussed Tables 2 and 4 above, and note additionally the

   formulations with “2” mol % conjugated lipid, “40” mol % cationic lipid, “10” mol %

   phospholipid, and “48” mol % cholesterol. See ’069 patent, 69:24-45 (Table 2, Sample Nos. 1 and

   16), 71:24-53 (Table 4, Groups 2, 4, 5, 7, 13). The specification also provides a general description

   of the mol % ranges for the lipid components that reflects consistent precision. For instance, the

   specification states that

                   In some embodiments, the cationic lipid may comprise from about
                   50 mol % to about 90 mol %, from about 50 mol % to about 85 mol
                   %, from about 50 mol % to about 80 mol %, from about 50 mol %
                   to about 75 mol %, from about 50 mol % to about 70 mol %, from
                   about 50 mol % to about 65 mol %, or from about 50 mol % to about
                   60 mol % of the total lipid present in the particle.

   ’069 patent, 18:40-46. This illustrative excerpt shows that the inventors found it perfectly

   acceptable to use two significant figures to describe the mol % of cationic lipid; I am not aware of

   any disclosure in the specification that supports reading “50 mol %” as “50.0 mol %,” or “50.000

   mol %” or with infinite trailing zeros after the decimal as I understand Moderna to contend.




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          63.     Similarly, in describing the mol % of the conjugated lipid, the specification states:

                  In certain instances, the conjugated lipid that inhibits aggregation of
                  particles (e.g., PEG-lipid conjugate) may comprise from about 0.1
                  mol % to about 2 mol %, from about 0.5 mol % to about 2 mol %,
                  from about 1 mol % to about 2 mol %, from about 0.6 mol % to
                  about 1.9 mol %, from about 0.7 mol % to about 1.8 mol %, from
                  about 0.8 mol % to about 1.7 mol %, from about 1 mol % to about
                  1.8 mol %, from about 1.2 mol % to about 1.8 mol %, from about
                  1.2 mol % to about 1.7 mol %, from about 1.3 mol % to about 1.6
                  mol %, from about 1.4 mol % to about 1.5 mol %, or about 1, 1.1,
                  1.2, 1.3, 1.4, 1.5, 1.6, 1.7, 1.8, 1.9, or 2 mol % (or any fraction
                  thereof or range therein) of the total lipid present in the particle.

   ’069 patent, 22:30-42. Here too, the specification reinforces that when the inventors recited the

   value “2 mol %” or “1.5 mol %” for the conjugated lipid, that was the precision they intended.

   Notably, “2 mol %” would encompass “1.5 mol %” to “2.4 mol %,” but “1.5 mol %” would

   encompass “1.45 mol %” to “1.54 mol %” which is a distinct (if overlapping) range.

          64.     Moreover, I am not aware of any established convention in the field requiring mol

   percentages to be expressed with more precision than what the inventors provided in the claims

   and specification. Nor am I aware of any data or statements in the specification, prosecution

   history, or otherwise, establishing, for example, that a particle with “50 mol %” cationic lipid

   versus one with “49.9 mol %” cationic to be a critical difference between them.

          65.     Finally, I understand that Moderna’s construction relies on the absence of the term

   “about” in the claims where the disputed “mol % of the total lipid present in the particle” terms

   appears. The absence of “about” or other terms of approximation in the claims does not change

   my opinion that the POSA would read the claimed mol % ranges in accordance with the standard

   scientific convention of significant figures and rounding. As I explain above, see supra § III.B,

   rounding based on significant figures is not a matter of approximation or variance; it is the way

   that numbers are expressed and interpreted when measurement or some other experimental

   imprecision applies, which is the case here.


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          66.     Moreover, in this case, I understand that the patentee amended the claims to remove

   the term “comprising about” from then-pending claims based on the Examiner’s construction of

   “comprising about” to mean “an amount +/- 10, 20, 30 mol % of a lipid component.” See ’069

   File History, Jan. 31, 2011 Reply to Office Action; ’069 File History, May 12, 2011 Non-Final

   Rejection; ’069 File History, Aug. 11, 2011 Reply to Office Action. The POSA would recognize

   the file history to use the term “comprising about” to refer not to significant figures and rounding—

   the Examiner plainly provided a different understanding. Thus, the POSA viewing the file history

   would understand that the removal of “comprising about” does not reflect that the inventors

   intended to exclude rounding from the claims.         There is no indication, or any “clear and

   unmistakable” statement, that in removing the term “comprising about” from the claims, the

   applicant sought to depart from the standard convention of significant figures and rounding or to

   impose the infinite precision that Moderna proposes to read into the claim.

          67.     In particular, I understand that during prosecution of the ’069 patent, claim 1

   submitted by the applicant originally recited mol % ranges using “about”:




   ’069 File History, Jan. 31, 2011 Reply to Office Action at 2.


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          68.    The Examiner rejected then-pending claim 1 of the ’069 patent as allegedly

   anticipated by U.S. Patent Application Publication No. 2006/0008910 (published Jan. 12, 2006)

   (“MacLachlan ’910”). In making this rejection, however, the Examiner stated:




   ’069 File History, May 12, 2011 Non-Final Rejection at 2.

          69.    The applicant responded by amending claim 1 to remove the word “about”:




   ’069 File History, Aug. 11, 2011 Reply to Office Action at 2.




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          70.     The applicant further explained that these amended claims not including “about”—

   and therefore not susceptible to the Examiner’s expansive interpretation of “about” to mean “+/-

   10, 20, 30 mol % of a lipid component”—were not anticipated by the broad ranges disclosed by

   MacLachlan ’910 because the reference did not teach the claimed ranges with “sufficient

   specificity.” ’069 File History, Aug. 11, 2011 Reply to Office Action at 6. The Examiner

   subsequently allowed the claims to issue as the ’069 patent. ’069 File History, Sept. 12, 2011

   Notice of Allowance.

          71.     The POSA reading the file history of the Lipid Composition Patents would

   therefore not understand the applicant’s amendment to have disclaimed the application of

   significant figures and rounding to the claims. Rather, the prosecution history shows that the

   Examiner construed “about” to mean “+/- 10, 20, 30 mol %,” and the applicant’s amendment

   addressed that construction. The prosecution history of the Lipid Composition Patents thus makes

   clear that the meaning of “about” as “+/- 10, 20, 30 mol %” is unconnected to whether the POSA

   would have interpreted the claimed mol % ranges using the ordinary rules of significant figures

   and rounding. The prosecution history does not at all support that the applicant intended the

   claimed ranges to be infinitely precise under Moderna’s position that ranges would be understood

   to be “exact.” I therefore disagree with Moderna’s construction.

          B.      The ’651 Patent: “wherein at least 70% / at least 80% / about 90% of the
                  mRNA in the formulation is fully encapsulated in the lipid vesicles”

              Plaintiffs’ Construction                          Moderna’s Construction
    “wherein at least 70% / at least 80% / about “fully, as distinct from partially, encapsulated”
    90% of the mRNA in the formulation is
    contained inside the lipid vesicles”
                                      ’651 Patent, Claims 1, 13, 14

          72.     I understand that Moderna has argued that the phrase “fully encapsulated” as used

   in claims 1, 13, and 14 of the ’651 patent should be construed as “fully, as distinct from partially,



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   encapsulated.” I disagree. In my opinion, the POSA would have understood the term “fully

   encapsulated” within the context of the full claim limitations in which it appears: “wherein at least

   70% / at least 80% / about 90% of the mRNA in the formulation is fully encapsulated in the lipid

   vesicles.” Taking into account this context and the claims and specification as a whole, the POSA

   would have understood the whole claim limitation to mean “wherein at least 70% / at least 80% /

   about 90% of the mRNA in the formulation is contained inside the lipid vesicles.”

          73.     In my opinion, the POSA reading the claim limitation “wherein at least 70% / at

   least 80% / about 90% of the mRNA in the formulation is fully encapsulated in the lipid vesicles”

   would have understood that the full claim term at issue delineates (1) the proportion of mRNA

   encapsulated in lipid vesicles (at least 70% / 80% or about 90%), and (2) the location of the mRNA

   in the vesicles (the mRNA must be contained inside the vesicles).

          74.     Regarding the first point above, the POSA reviewing the plain language of claims

   1, 13, and 14 of the ’651 patent would have understood that numerical references to at least 70% /

   at least 80% / about 90% to refer to the proportion of mRNA encapsulated by lipid vesicles—this

   value is typically referred to in the field as “encapsulation efficiency.”

          75.     At the time of the invention, encapsulation efficiency was a standard measurement

   for assessing the properties of a lipid vesicle. The encapsulation efficiency of a lipid vesicle

   formulation refers to the measurement of the total percent of nucleic acid that is encapsulated by

   lipid vesicles, as a proportion of the total amount of nucleic acid in the composition.

          76.     As explained above and further below, this encapsulation or protection of nucleic

   acid can occur, for example, “within a relatively disordered lipid mixture,” ’651 patent, 5:35-37,

   where the nucleic acid is present outside the lipids and encapsulated in a complex web of lipids.

   See supra § III.A. Alternatively, this encapsulation or protection can occur where the nucleic acid




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   is contained inside a lipid vesicle. This distinction is addressed in further detail below.

          77.     A standard method of measuring this encapsulation efficiency was conducting an

   assay utilizing a dye that fluoresces when it binds to nucleic acid. The intrinsic evidence confirms

   that the POSA would have recognized the applicability of this assay.

          78.     Initially, the POSA would have recognized the various disclosures of encapsulation

   percentages in the specification as reporting encapsulation efficiency. The written description of

   the invention frequently refers to the improved encapsulation efficiency of the invention. For

   example, the specification discloses that “[a]dvantageously, and surprisingly, the processes and

   apparatus for mixing of the lipid solution and the aqueous solution as taught herein provides for

   encapsulation of therapeutic agent in the formed liposome substantially coincident with liposome

   formation with an encapsulation efficiency of up to about 90%.” ’651 patent, 8:5-10, 12:64-13:1.

          79.     Separately, the written description of the invention discloses numerous

   measurements of encapsulation efficiency that correspond to the percentages included in claims 1,

   13, and 14 of the ’651 patent (“at least 70%,” “at least 80%,” and “about 90%”). For example, the

   patent discloses that “[i]n certain aspects, the initial therapeutic product encapsulation efficiency

   is as high as about 90%.” ’651 patent, 2:51-54. This corresponds to the percentage included in

   claim 14 (“wherein about 90% of the mRNA in the formulation is fully encapsulated”). The patent

   also discloses a preference for “70-95% plasmid DNA (“pDNA) encapsulation after mixing, and

   ethanol removal steps.” Id. at 12:59-61. This corresponds to the claimed percentages in claims 1,

   13, and 14. The specification further discloses 70-80% rates of encapsulation, id. at 9:24-26, 36-

   38, which correspond with claims 1 and 13; “77-90% DNA encapsulation” rates, id. at 15:32-33,

   which corresponds with the percentages in claims 1, 13, and 14; and that “the SPLP formed

   according to the processes of the present invention had 85% DNA encapsulation,” id. at 18:40-42,




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   which corresponds at least to the claimed percentage in claim 13.

           80.     Further, the figures in the ’651 patent, which show measurements of encapsulation

   percentages, would further inform the POSA’s understanding of the claims. For example, Figures

   5, 6, 7, and 8 show measures of “DNA Encapsulation (%)” or “% Encapsulation” as various aspects

   of the processes disclosed in the specification are modulated, including the ethanol concentration

   of the initial lipid solution (Fig. 5), the pH of initial plasmid solution and the buffer solution (Figs.

   6 & 7), and the concentration of salt (NaCl) after dilution (Fig. 8). See ’651 patent, 3:17-29. The

   POSA reviewing these figures and their descriptions would understand that this encapsulation

   percent is referring to encapsulation efficiency, as measured by a standard assay, such as a

   fluorescence assay.

           81.     When reading the claims in light of the written description and the figures in the

   specification, including the emphasis on the invention’s advance in leading to improved

   encapsulation efficiencies, the inclusion of disclosures of specific percentages of encapsulation

   efficiency that are tied to the specific claimed percentages of fully encapsulated mRNA, and the

   figures in the specification, the POSA would understand the numerical values in the percentage

   terms to refer to encapsulation efficiency percentages.

           82.     Reviewing the file history would provide further confirmation to the POSA that the

   percent fully encapsulated referred to encapsulation efficiency. During prosecution, a third-party

   submitted a declaration to the Examiner contending that WO 98/51278 (published Nov. 19, 1998)

   (“Semple”) disclosed a process for preparing “[l]ipid vesicles, such as liposomes or lipid-nucleic

   acid particles, fully encapsulating nucleic acids.” ’651 File History, Jan. 5, 2015 Third Party

   Submission at 10.      Semple reports the use of a “fluorescent dye binding assay” to assess

   encapsulation efficiency. Semple at 36:1-4. Using that assay, Semple reports encapsulation




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   efficiencies of greater than 50%. Id. at 13:24-29. The Examiner then rejected all the claims in the

   application over Semple, which the Examiner argued taught lipid vesicles, specifically lipid-

   nucleic acid particles and liposomes, “which comprise mRNA, [and the specific lipid components

   claimed in the ’651 patent], wherein the nucleic acids are enclosed by the lipid vesicle (i.e.,

   protected from degradation).” ’651 File History, Feb. 13, 2015 Non-Final Rejection at 10.

          83.     The applicant then responded by arguing that “the method described in Semple et

   al. for preparing liposomes is not able to produce the population of smaller lipid vesicles of the

   present invention with high mRNA encapsulation efficiency that is desirable for in vivo and

   clinical applications.” ’651 File History, May 12, 2015 Response at 5.

          84.     The Examiner then issued a Final Rejection, arguing that the rejection was not

   overcome by the applicant’s statements or the accompanying declaration from Dr. Heyes, in part

   because even though the applicant argued “that the encapsulation of the mRNA using the method

   of Semple is not as effective and/or does not show the high mRNA encapsulation which is desired

   in the instant invention, . . . the features upon which applicant relies (i.e., encapsulation efficiency

   and lower PDI) are not recited in the rejected claim(s).” ’651 File History, June 19, 2015 Final

   Rejection at 14.

          85.     The applicant then filed a Request for Continued Examination (“RCE”), along with

   amendments to the claims to include the limitations “wherein at least 50% / at least 70% / at least

   80% / about 90% of the mRNA in the formulation is fully encapsulated in the lipid vesicles.” ’651

   File History, June 19, 2015 RCE at 2-3. The applicant made these amendments to overcome the

   Examiner’s rejections over Semple.         Id. at 8 (“[T]he Examiner notes that this feature of

   encapsulation efficiency is not recited in the rejected claims. In an earnest effort to advance

   prosecution, but without acquiescing on the merits of the present rejections, Applicants have




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   amended claim 1 to recite a lipid vesicle formulation wherein at least 50% of the mRNA in the

   formulation is fully encapsulated in the lipid vesicles.”).

          86.     The applicant described the limitations at issue, numerous times, as limitations on

   the encapsulation efficiency of the lipid vesicles of the claims and noted that the claimed

   encapsulation efficiency was greater than the encapsulation efficiency produced by the methods

   of Semple. E.g., id. at 7 (“Heyes Declaration clearly shows that the method described in Semple

   et al. for preparing liposomes containing antisense oligonucleotide is not suitable for producing

   the population of lipid vesicles with an mRNA encapsulation efficiency as presently claimed.); id.

   at 8 (“the method of Semple et al. for preparing liposomes containing antisense oligonucleotide is

   not suitable for producing the population of lipid vesicles with an mRNA encapsulation efficiency

   as presently claimed”); id. (“the very low encapsulation efficiency associated with the method

   described in Semple et al. is well below the minimum mRNA encapsulation efficiency required in

   the presently claimed formulations.”); id. at 9 (“Applicants have provided sufficient objective

   evidence in the Heyes Declaration to demonstrate that the method described in Semple et al. for

   preparing liposomes is simply not suitable for producing the population of lipid vesicles with an

   mRNA encapsulation efficiency as presently claimed.”).

          87.     The Examiner then found that “Applicant’s amendments to the claims, filed

   8/18/15, have rendered the previous 103 rejections moot.” ’651 File History, Oct. 9, 2015 Non-

   Final Rejection at 8. However, the Examiner found that a different reference, U.S. Patent No.

   6,734,171 (“Saravolac”) taught processes for forming liposomes and lipid-nucleic acid particles,

   “wherein the encapsulation efficiency of the mRNA in the vesicles is about 80% and can even

   approach 90% which reads upon the instantly claimed at least 70%, more specifically at least 80%,

   and about 90%.” Id. at 7. In other words, just as the applicant had equated the amendments to the




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                                                                                           JA00444
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   claims to include the percent fully encapsulated limitations with a measurement of encapsulation

   efficiency, the Examiner also understood the limitations of the amended claims to refer to

   encapsulation efficiency.

          88.     To overcome the Examiner’s rejections, the applicant submitted further responses

   and declarations from Dr. Heyes, detailing that the process disclosed in Saravolac would not

   produce a lipid vesicle fully encapsulating mRNA with the claimed encapsulation efficiencies.

   ’651 File History, Dec. 14, 2015 Response at 4-7; ’651 File History May 19, 2016 Response at 4-

   7. Saravolac disclosed encapsulation of DNA plasmid, but not a process for the encapsulation of

   mRNA. Id. Again, the applicant and Dr. Heyes equated numerous times the claimed limitations

   for the percent fully encapsulated with measures of encapsulation efficiencies. ’651 File History,

   Dec. 14, 2015 Response at 4-7; ’651 File History, Dec. 14, 2015 Heyes Decl. at 2-5; ’651 File

   History, May 19, 2016 Response at 4-7; ’651 File History, May 19, 2016, Heyes Decl. at 2-5.

          89.     The Examiner ultimately found that the applicant’s remarks and Dr. Heyes’s

   affidavits overcame the rejections based on Saravolac, specifically, because the applicant

   demonstrated that “Saravolac does not encapsulate mRNA with the same efficiency as other

   nucleic acids and as such does not function as effectively the claimed lipid vesicles which

   applicants have demonstrated do effectively encapsulate mRNA with efficiencies of greater than

   70%.” ’651 File History, Oct. 3, 2016 Non-Final Rejection at 6.

          90.     Subsequently, the Examiner issued a Notice of Allowance (“NOA”), providing as

   a reason for allowance that “applicants have been able to demonstrate that their method of making

   liposomes allows for liposomes which more effectively encapsulate mRNA over the

   methods/liposomes of the prior art and have shown this effective encapsulation through the

   submission of several declarations under 1.132. No further art was found which had these high




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   encapsulation efficiencies of mRNA.” ’651 File History, Oct. 19, 2016 NOA at 2. Reviewing this

   prosecution history—including the consistent understanding of the claim limitation shared by the

   Examiner, the applicant, and Dr. Heyes—would confirm for the POSA that the numerical values

   in the percent fully encapsulated terms refer to encapsulation efficiency percentages.

          91.     Technical literature further confirms that the POSA would have known how to

   measure encapsulation efficiency with a fluorescent dye and would have understood the percent

   fully encapsulated term as referring to encapsulation efficiency. First, a specified amount of the

   dye would be added to a formulation of the lipid vesicles. The dye that is added to the formulation

   is lipid impermeable—that is, it cannot pass through a lipid barrier—and thus it cannot access or

   bind to nucleic acid that is encapsulated by the lipid and only binds to nucleic acid that is not

   encapsulated by the lipid. After adding the dye, the POSA would then measure the formulation’s

   fluorescence intensity. Subsequently, a detergent is added to the formulation to break down the

   lipid barrier, which releases the encapsulated nucleic acid (which the dye, before the detergent was

   added, could not reach), and the fluorescence intensity is again measured.               The second

   measurement identifies all of the nucleic acid that was in the formulation (including the nucleic

   acid that was previously inaccessible to the dye). With these measurements, the POSA could

   calculate the encapsulation efficiency as follows:

                             Encapsulation efficiency (%) = (Io - I)/Io × 100

   where I and Io refer to the fluorescence intensities before and after the lipid vesicles are broken

   down. See, e.g., Zhang 199917 at 1439, 1445; MacLachlan 200718 at 253-254; Heyes 200519 at


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      Y.P. Zhang et al., Stabilized plasmid-lipid particles for regional gene therapy: formulation and
   transfection properties, Gene Therapy, vol. 6, pp. 1438-1447 (1999) (“Zhang 1999”).
   18
      I. MacLachlan, Liposomal Formulations for Nucleic Acid Delivery, Antisense Drug Techs. (2d
   ed. 2007) (“MacLachlan 2007”).
   19
      J. Heyes et al., Cationic lipid saturation influences intracellular delivery of encapsulated nucleic
   acids, J. Controlled Release, vol. 107, pp. 276-87 (2005) (“Heyes 2005”).


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   279; WO 00/03683 (filed Jan. 27, 2000) at 24:1-8. For example, if there were no difference

   between the fluorescence intensities measured in the first step and the fluorescence measured in

   the second step, that would indicate that 0% of the nucleic acid was encapsulated by the lipid

   system, whereas if there were no fluorescence at all at the first step and then fluorescence after the

   detergent was added, that would indicate that 100% of the nucleic acid was encapsulated by the

   lipid system. The POSA would have recognized that these differential fluorescence-based assays

   were used extensively by the priority date to measure encapsulation efficiency and would have

   understood the process for measuring encapsulation efficiency.

          92.     The POSA would further understand that the full claim limitations “wherein at least

   70% / at least 80% / about 90% of the mRNA in the formulation is fully encapsulated in the lipid

   vesicles” also limit the invention of the ’651 patent based on where the mRNA is located, i.e., the

   mRNA must be contained inside the vesicle.

          93.     At the time of the invention, the POSA would have understood that different lipid

   vesicle systems that could be used for the delivery of therapeutic agents such as nucleic acids

   would have the nucleic acid in different locations of the vesicle system. The ’651 patent describes

   some of these locations in lipid vesicle systems including (1) SPLPs, in which a “vesicle of lipids

   coating an interior comprising a nucleic acid such as a plasmid with a reduced aqueous interior,”

   (2) liposomes, “wherein an aqueous volume is encapsulated by an amphipathic lipid bilayer, or

   wherein the lipids coat an interior comprising a large molecular component, such as a plasmid,

   with a reduced aqueous interior”; and (3) “lipid aggregates or micelles, wherein the encapsulated

   component is contained within a relatively disordered lipid mixture.” See ’651 patent, 5:30-37.

   These different locations of nucleic acid in various lipid systems were well-understood to the

   POSA at the time of the invention, for example the “meatballs” and “spaghetti” arrangement I




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   discussed above, see supra § III.A; Sternberg 1994 at 364, Figure 2, as well as others. See, e.g.,

   Wheeler 1999;20 Chonn 1995;21 Mok 1999.22

          94.     Immediately following the ’651 patent’s description of the different locations in

   which the vesicles can retain nucleic acids, the specification refers to lipid formulations that

   provide “a compound with full encapsulation, partial encapsulation, or both.” ’651 patent, 5:38-

   40. The POSA would understand that this reference to “full” and “partial” encapsulation was in

   reference to the different potential locations of the encapsulated nucleic acid (such as mRNA)—

   “within a relatively disordered lipid mixture” or in the “interior.” See ’651 patent, 5:30-44; supra

   § III.A. In view of this context, the POSA would understand that a partially encapsulated nucleic

   acid is one that is contained within the relatively disordered lipid mixture (but not actually inside

   any lipid vesicles), whereas a fully encapsulated nucleic acid is inside the lipid vesicle. See, e.g.,

   Sternberg 1994 at 364, Figure 2; supra § III.A.

          95.     The mRNA’s location can have substantial practical effect, as when nucleic acid is

   not contained inside a lipid vesicle, it can result in toxic side effects, degradation, and rapid

   clearance. See Wheeler 1999 at 271 (“In the case of nonviral systems such as plasmid DNA-

   cationic lipid complexes (lipoplexes), the large size and positively charged character of these

   aggregates also result in rapid clearance, and the highest expression levels are again observed in

   first-pass organs, particularly the lung. Plasmid DNA-cationic lipid complexes can also result in

   toxic side-effects both in vitro and in vivo.”). Given the POSA’s understanding of the difference




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      J. J. Wheeler et al., Stabilized plasmid-lipid particles: construction and characterization, Gene
   Therapy, vol. 6, pp. 271-281 (1999) (“Wheeler 1999”).
   21
      A. Chonn et al., Recent advances in liposome drug delivery systems, Curr. Opin. Biotech, vol.
   6, pp. 698-708 (1995) (“Chonn 1995”).
   22
      K. Mok et al., Stabilized plasmid–lipid particles: factors influencing plasmid entrapment and
   transfection properties, Biochim Biophys Acta, vol. 1419, pp. 137-150 (1999) (“Mok 1999”).


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   between nucleic acid being contained inside the lipid vesicle (in the “interior"), compared to being

   on the outside of the lipid vesicle (“within a relatively disordered lipid mixture”) the POSA would

   understand that the reference to “fully encapsulated” in the claims of the ’651 patent refers to the

   location of nucleic acid—inside the vesicle. See ’651 patent, 5:30-44.

          96.     The file history further confirms that the POSA would understand the limitation

   “wherein at least 70% / at least 80% / about 90% of the mRNA in the formulation is fully

   encapsulated in the lipid vesicles” related to nucleic acid being contained inside the lipid vesicle.

   The Examiner rejected the initial claims, which included the “fully encapsulated” language, over

   U.S. Patent No. 5,830,430 (“Unger”), which the Examiner argued taught a lipid vesicle that

   encapsulates nucleic acid. ’651 File History, Aug. 14, 2014 Non-Final Rejection at 5-6. The

   applicant distinguished Unger, noting that “none of the examples in Unger et al. . . . discloses or

   suggests a lipid vesicle of the present invention comprising fully encapsulated mRNA,” including

   because it concerned a lipid system “in which little, if any, of the DNA payload is encapsulated

   within the preformed cationic liposomes,” and instead “is merely associated with the surface of

   the preformed liposome.” ’651 File History, Oct. 22, 2014 Response at 5-7. That differed from

   “the encapsulated mRNA present within the lipid vesicles of the present invention.” Id.

          97.     Dr. Heyes drew the same distinction during prosecution. ’651 File History, Oct.

   22, 2014 Decl. ¶ 10 (“[T]he cationic lipid compounds and cationic liposome formulations disclosed

   in Unger et al. are exemplified in the context of their use for preparing preformed liposomes to

   form complexes with DNA called lipoplexes. However, lipoplexes are electrostatic complexes in

   which little, if any, of the DNA payload is encapsulated within the preformed cationic liposomes.

   . . . Importantly, the encapsulated mRNA present within the lipid vesicles of the present invention

   will be protected from nuclease degradation upon systemic administration, while nucleic acid that




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   is merely associated with the surface of a preformed liposome (such as the DNA of the lipoplexes

   of Unger et al.) will be more readily degraded by serum nucleases.”) (emphasis added).

          98.     It would be clear to the POSA that the experiments disclosed in Unger prepared

   vesicles where the nucleic acid was on the surface of the vesicle (i.e., lipoplexes) rather than

   vesicles where the nucleic acid is contained inside the lipid vesicles and was thus fully

   encapsulated. Examples 6A and 6B of Unger disclose that the lipid vesicles of that invention were

   formed by mixing in solution DNA and preformed liposomes. Unger at 29:11-40:25. In these

   examples, Unger does not disclose a process whereby the preformed liposomes would be disrupted

   to allow for the encapsulation of the nucleic acid inside the liposomes. Accordingly, the POSA

   would understand that the DNA in the Examples disclosed in Unger would have formed lipoplexes,

   where the DNA was associated with the surface of the lipid vesicles.

          99.     These statements by the applicant would confirm the POSA’s understanding that

   the “full encapsulation” language in the specification requires the nucleic acid to be in a specific

   location. Consistent with the specification, the statements differentiate between the systems in

   which nucleic acid is encapsulated “within a relatively disordered lipid mixture”—such as those

   of Unger that the applicant distinguished—and lipid vesicles with full encapsulation in which a

   nucleic acid is in the “interior” and contained inside the lipid vesicle. ’651 patent, 5:30-40.




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                     Appendix A




                                                                        JA00451
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                                         DAVID H. THOMPSON
                                                Professor of Chemistry

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EDUCATION
   B.A., Biology                             University of Missouri, Columbia                                        1978
   B.S., Chemistry                           University of Missouri, Columbia                                        1978
                                             Research Advisor: John P. McCormick
   Ph.D., Organic Chemistry                  Colorado State University                                               1984
                                             Thesis Advisor:   Louis S. Hegedus
                                             Dissertation:     Mechanistic Study of π-Methallyl Nickel Bromide
                                                               Cross Coupling Reactions with Organic Halides

POSITIONS HELD
   Postdoctoral Research Associate, Oregon Health & Sciences University (OHSU/OGI)                               1984-1987
          Research Advisor: James K. Hurst
   Assistant Professor, OHSU/OGI – Dept. of Chemical & Biological Sciences                     1987-1994
   Visiting Professor, University of British Columbia – Dept. of Biochemistry                       1992
   Associate Professor, Purdue University – Dept. of Chemistry                                 1994-2001
   Professor, Purdue University – Dept. of Chemistry                                       2001-present
   Visiting Professor, University of Florida – Dept. of Pharmaceutics                               2003
   Visiting Professor, Osaka University – Dept. of Applied Chemistry                                2003
   Visiting Professor, Japan Advanced Institute of Science & Technology – Dept. of Biomaterials     2005
   Professor, Purdue University – Dept. of Biomedical Engineering                                   2008
   Visiting Professor, Technical University of Denmark – Dept. of Micro & Nanotechnology            2012
   Visiting Professor, Chulalongkorn University – Dept. of Pharmaceutics                    2013 & 2016


DISTINCTIONS
   Colorado Fellowship                                                                       1983-1984
   Fall MRS Gold Paper Award                                                                       1999
   Special Issue Editor, Advanced Drug Delivery Reviews                                            2001
   Head, Organic Chemistry Division, Department of Chemistry, Purdue University              2003-2010
   Top Ten Outstanding Teachers in the College of Science, Purdue U.                         2004-2005
   Chair, Chemistry of Supramolecules & Assemblies Gordon Conference                               2005
   JSPS Fellow, Japan Society for the Promotion of Science                                         2006
   University Faculty Scholar, Purdue University                                             2006-2011
   Award for Undergraduate Advising, College of Science, Purdue U.                                 2008
   Co-Director, Chemical & Structural Biology Group, Purdue Center for Cancer Research       2008-2018
   Director, Targets, Structures & Drugs Group, Purdue Center for Cancer Research            2018-2021
   Alternate Counselor, American Chemical Society – Division of Colloid & Surface Science    2012-2015
   Chair, HC Brown Symposium in Organic Chemistry                                                  2014
   Director, NIH-National Cancer Institute, Experimental Therapeutics – Chemical Biology Consortium,
       Purdue University Specialized Center                                                  2016-2022



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September 2023                                                                        David H. Thompson, CV
GOVERNMENT SERVICE & ADVISORY BOARDS
  NIH Panelist, P50 Cancer Imaging Program (ad hoc)                                                    1999
  NSF Reviewer, IGERT Program (ad hoc)                                                            1996-2000
  Editorial Advisory Board, Langmuir                                                              2000-2005
  NIH Study Section, Bioorganic & Natural Products Chemistry (ad hoc)                                  2001
  Editorial Advisory Board, Bioconjugate Chemistry                                                2004-2010
  Associate Editor, WIREs: Nanomedicine & Nanobiotechnology                                       2005-2018
  NIH Study Section Panelist, Bioengineering & Physiology SBIR                                    2001-2005
  NIH Study Section Panelist, Nanoscience & Nanotechnology in Biology & Medicine                  2004-2006
  NIH Advisory Board, Nanomedicine Development Center Initiative                                  2004-2006
  NIH Study Section Charter Member, Gene & Drug Delivery                                          2006-2010
  NIH Study Section, COBRE Type I (ad hoc)                                                             2008
  NIH Study Section, Major Research Instrumentation - Flow Cytometry Grants                       2009-2010
  NIH Study Section, P01 Review                                                                   2009-2010
  NIH-NCI Nanobiology Site-Visit Program Review                                                        2010
  NIH Study Section, Nano (ad hoc)                                                                     2010
  NIH Study Section, MBRS SCORE (ad hoc)                                                               2012
  NSF Division of Materials Research – Biomaterials Panelist                                           2018
  NSF MRSEC Site Visit Reviewer                                                                        2018
  NSF CAREER Award Panelist                                                                            2018
  NIH Study Section, NCI K99/R00 Program                                                               2022


RESEARCH INTERESTS
      • Transiently-stable carrier system development for intracellular drug & nucleic acid delivery
      • Applications of energy-efficient, analytics-guided continuous synthesis
      • Materials development for accelerated protein structure elucidation


PROFESSIONAL & SCHOLARLY ASSOCIATIONS
      • American Association for the Advancement of Science
      • American Chemical Society (Organic and Colloid & Surface Science Divisions)
      • American Society for Gene Therapy
      • Materials Research Society


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    Asymmetrically-Substituted Viologens" Journal of Physical Chemistry 1988 92, 6978-6985.

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    Organic Solvent, Aqueous Solution and Vesicle Systems” Journal of Electroanalytical Chemistry 1988
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September 2023                                                                       David H. Thompson, CV

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30. I. Szleifer, O. V. Gerasimov & D. H. Thompson, “Spontaneous Liposome Formation Induced by Grafted
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September 2023                                                                  David H. Thompson, CV
44. J. H. Collier, B.-H. Hu, J. W. Ruberti, Z.-Y. Zhang, P. Shum, D. H. Thompson & P. B. Messersmith,
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47. Z.-Y. Zhang, P. Shum, M. Yates, P. B. Messersmith & D. H. Thompson, “Formation of Fibrinogen-Based
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September 2023                                                                       David H. Thompson, CV
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152. Z. Jaman, D. L. Logsdon, B. Szilagyi, T. J. P. Sobreira, D. Aremu, L. Avramova, R. G. Cooks, D. H.
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     Desorption Electrospray Ionization Mass Spectrometry High Throughput Experimentation”, ACS
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September 2023                                                                       David H. Thompson, CV

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IN PREPARATION
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BOOK CHAPTERS, REVIEWS & OPINION ARTICLES
 1. “Comprehensive Organic Transformations: A Guide to Functional Group Preparations, 2nd Edition” (R.
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 2. “Solid-Phase Organic Synthesis” (K. Burgess, Ed., Wiley, 2000) Pharmaceutical Research 2001 18,
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 3. “Solid-Phase Synthesis and Combinatorial Technologies” (P. Seneci, Ed., Wiley, 2000) Pharmaceutical
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 4. “Active Transport of Ca2+ by an Artificial Photosynthetic Membrane” News & Views, Nature Materials
    2002, 1, 214-215; ibid, pp. 398-401.

 5. D. H. Thompson, P. Shum, O. V. Gerasimov, M. M. Qualls, “Photosensitive Liposomes as Potential
    Targeted Therapeutic Agents”, in Nanoparticulate Drug Delivery Systems: Strategies, Technologies,
    and Applications, Y. Yeo, Ed., John Wiley & Sons, Hoboken, NJ, 2013, pp. 81-99.

 6. S. Samaddar, D. H. Thompson, “Nucleic Acid Anticancer Agents”, in Biomaterials for Cancer
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PATENTS
 1. U. S. Patent #5,277,913 (Issued 1/11/94): D. Thompson, V.C. Anderson, "Liposomal Delivery System
    With Photoactivatable Triggered Release." (Japanese Patent No. 502261/95)

 2. U.S. Patent #6,979,460 (Issued 12/27/05): D. Thompson, J.A. Boomer, R. Haynes, “Vinyl Ether Lipids
    with Cleavable Hydrophilic Headgroups”

 3. US Patent #7,374,944 (Issued 5/20/2008): O. Basaran, C. Hrycyna, K. Park, D. Thompson, “Device and
    Bioanalytical Method Utilizing Asymmetric Biofunctionalized Membrane”

 4. US Patent #8,916,697 (Issued 12/23/2014): D. Thompson, “Nucleic Acid Complexes, Methods of
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September 2023                                                                   David H. Thompson, CV

 5. US Patent #9,341,621 B2 (Issued 5/17/16): C. Savran, P. Low, D. Thompson, W. Henne, D.
    Doornweerd, C.-L. Chang, G. Acharya, D. Brownholland: “Ultrasensitive Detection of Biomolecules
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 6. US Patent #9,518,114 B2 (Issued 12/13/16): R.C. Aguilar, T. Ratliff, D. Thompson, S. Crist, “Treating
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 7. U.S. Patent #9,526,802 B2 (Issued 12/27/16): D. Thompson, A. Kulkarni, W. Deng, “Nucleic Acid
    Complexes”.

 8. U.S. Patent #10,000,581 B2 (Issued 6/19/18): D. Thompson, A. Kulkarni, C. Collins, Y. Mondjinou:
    “Therapeutic and Imaging Compositions and Uses Thereof”.

 9. U.S. Patent #10,118,996 B2 (Issued 11/6/18): D. Thompson, S.-H. Hyun, K. J. Wright: “Polyrotaxanes
    and Uses Thereof”.

10. U.S. Patent #11,434,330 B2 (Issued 9/6/22): D. Thompson, S.-H. Hyun, Y. Mondijnou, C. Collins:
    “Polyrotaxanes Bearing Mixed Cyclodextrin Species and Uses Thereof”.

11. WO 2019/165390: D. H. Thompson, R. VerHeul, C. Sweet, “Rapid and Simple Purification of Elastin-
    like Polypeptides Directly from Whole Cells and Cell Lysates by Organic Solvent Extraction”.

12. 2019-THOM-68395: D. H. Thompson, Z. Jaman, R. G. Cooks, C. A. Ferreira, “Low Cost Synthesis of
    Lomustine Under Continuous Flow Conditions”.

13.   2020-THOM-69095: D. H. Thompson, S. Biyani, Q. Qi, H. Sintim, “New Method for Synthesizing
      HSN608 Anticancer Agent, HSN608s”.

14.   2020-THOM-69096: D. H. Thompson, Z. Nagy, A. Mufti, J. Mackey, “Scaled-Up Synthesis of Lomustine
      Under Continuous Flow Conditions”

15.   2021-THOM-69651: D. H. Thompson, “A Fast and Efficient Process for the Preparation of N-
      Retinylidene-N-Retinylethanolamine (A2E)”.

16.   2022-THOM-69904: D. H. Thompson, S. Biyani, M. A. McGuire, “Continuous Flow Synthesis of
      Lorazepam”.

17.   2023-THOM-xxxxx: D. H. Thompson, A. Aayush, S. Darji, “Delivery of Nucleic Acids Using a Targeted
      Peptide Carrier System”.


CONFERENCES ORGANIZED
  American Chemical Society Symposium: “Intelligent Materials & Novel Concepts for Controlled Release
     Technology: Liposome Technology”, 4/13-18/97, San Francisco, CA.
  Materials Research Society Symposium: “Materials Science of Phospholipid Assemblies”, 11/29-12/3/99,
     Boston, MA.
  Gordon Research Conference, Chemistry of Supramolecules and Assemblies, 6/12-6/17/05, Colby
     College, Waterville, ME; www.grc.uri.edu/programs/2005/supramol.htm.
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September 2023                                                                 David H. Thompson, CV
   American Chemical Society Symposium: “Drug Delivery”, MEDI, 8/21/07, Boston, MA.
   American Chemical Society Symposium: “Advanced Materials Designs for Drug and Gene Delivery”,
     MEDI, 9/10/13, Indianapolis, IN.
   American Chemical Society Symposium: “Smart Polymers and Materials from Cyclodextrins”, POLY,
     Spring 2017, San Francisco, CA.


INVITED PRESENTATIONS
   FASEB Archaebacteria Research Meeting, Williamsburg, VA, 10/24/89, Lecture.
   Oregon Materials Symposium, Eugene, OR, 5/9/92, Lecture.
   GRC: Chemistry of Supramolecules & Assemblies, Henniker, NH, 7/5/93, Discussion Leader.
   GRC: Chemistry of Supramolecules & Assemblies, Henniker, NH, 7/28/95, Lecture.
   American Oil Chemist’s Society, Gene Therapy Symposium, Indianapolis, IN, 4/30/96, Lecture.
   NSF Workshop on Physical Organic Chemistry, Whidbey Island, WA, 6/96, Lecture.
   9th Int’l Symp. on Molecular Recognition and Inclusion, Lyon, France, 9/7-12/96, Lecture.
   Artificial Self-Assembling Systems for Gene Delivery, Coronado, CA, 11/16/96, Lecture.
   ACS Symposium: Intelligent Materials for Drug Delivery, San Francisco, CA, 4/13-18/97, Lecture.
   1st Int’l Symp. on Ordered Proteins at Interfaces, U. Washington, Seattle, WA, 8/17-19/97, Lecture.
   ACS Symposium: Syn. Design and Char. Surf. & Interfac., Las Vegas, NV 9/7-11/97, Lecture.
   Ohio State University, Department of Chemistry, Columbus, OH, 1/29/98
   Renaissance in Dermatology, Montecatini, Italy, 3/25-28/98, Lecture.
   6th Int’l Liposome Research Days Conference, Isle d’Hyeres, France, 5/28-31/98, Lecture.
   1st Int’l Supramolecular Chemistry Conference, Zakopane, Poland, 9/27-10/2/98, Lecture.
   University of Utrecht-Department of Pharmaceutics, Utrecht, Holland, 10/6/98, Lecture.
   Eindhoven University-Department of Chemistry, Eindhoven, Holland, 10/7/98, Lecture.
   1st Int’l Academy of Cosmetic Dermatology, St. Julian, Malta, 1/27-31/99, Lecture.
   Structure and Design of Synthetic Gene Carriers, San Francisco, CA, 2/24-26/99, Lecture.
   Bürgenstock Conference on Stereochemistry, Burgenstock, Switzerland, 4/25-30/99, Poster.
   GRC: Chemistry of Supramolecules and Assemblies, Henniker, NH, 8/1-6/99, Discussion Leader.
   ACS Symposium: Novel Surfactants, New Orleans, LA, 8/22-26/99, Lecture.
   IUPUI Physics Colloquium, Indianapolis, IN, 9/16/99
   National Institute of Standards & Technology, Rockville, MD, 10/19/99, Lecture.
   ARO Workshop, Templated Nanoscale Synthesis & Reactivity, Edgewood, MD, 10/20-21/99, Lecture.
   University of Toronto-Dept. Medical Biophys. & Biochem., Toronto, ON, 12/9/99, PENCE Lecture.
   GRC: Drug Carriers in Medicine & Biology, Ventura, CA, 2/20-25/00, Lecture.
   Liposome Research Days, Napa, CA, 4/12-15/00, Lecture.
   Central Regional ACS Meeting Symposium, Cincinnati, OH, 5/16-19/00, Lecture.
   NIH Workshop, Nanoscience & Nanotechnology, Bethesda, MD, 6/25-26/00, Poster.
   XVIII IUPAC Symposium on Photochemistry, Dresden, Germany, 7/22-25/00, Poster.
   10th Int’l Conf. on Colloid and Interfacial Science, Bristol, England, 7/25-28/00, Lecture.
   NSF Workshop on Materials Chemistry, Mt. Hood, OR, 10/12-15/00, Lecture.
   Washington State University-Department of Chemistry, Pullman, WA, 11/27/00, Lecture.
   North Carolina State University-Department of Chemistry, Raleigh, NC, 1/29-30/01, Lecture.
   Particles 2001, Orlando, FL, 2/24-28/01, Lecture.
   Antioch College-Department of Chemistry, Antioch, OH, 3/16/01, Lecture.
   Interface of Biology & Mat. Sci., Purdue MATCON Symposium, West Lafayette, IN, 3/28/02, Lecture.
   ACS Symposium: Drug Delivery Systems, Orlando, FL, 4/7-9/02, Lecture.
   Particles 2002, Orlando, FL, 4/21-23/02, Keynote Lecture.
   Bowling Green State University-Department of Chemistry, Bowling Green, OH, 5/1/02, Lecture.
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September 2023                                                                  David H. Thompson, CV
   ACS Symposium: Polymeric Bioconjugates, Boston, MA, 8/22/02, Lecture.
   Elmhurst College-Department of Chemistry, Elmhurst, IL, 9/18/02, Lecture.
   2nd Conf. on Tumor Targeted Drug Delivery, National Cancer Inst., Bethesda, MD, 9/24/02, Lecture.
   Brown University-Department of Chemistry, Providence, RI, 3/7/03, Lecture.
   University of Florida-Department of Pharmaceutics, Gainesville, FL, 4/24/03, Lecture.
   University of Wisconsin-Department of Pharmacy, Madison, WI, 5/6/03, Lecture.
   Colorado State University-Department of Chemistry, Ft. Collins, CO, 5/10/03, Lecture.
   GRC: Bioorganic Chemistry, Andover, NH, 6/19/03, Lecture.
   GRC: Chemistry of Supramolecules & Assemblies, Ventura, CA, 7/7/03, Discussion Leader.
   ACS Symposium: Polymeric Drug Delivery Symposium, New York, NY, 9/7/03, Lecture.
   11th Int’l Conf. on Surface & Colloid Science, Iguassu Falls, Brazil, 9/15-19/03, Lecture.
   9th Int’l Kyoto Conference on New Aspects of Organic Chemistry, Kyoto, JP, 11/12/03, Lecture.
   Osaka Prefecture University-Department of Applied Materials Science, Osaka, JP, 11/12/03, Lecture.
   Japan Advanced Institute of Science & Tech., School of Mat. Sci., Komatsu, JP, 11/14/03, Lecture.
   Osaka Dental University, Osaka, JP, 11/17/03, Lecture.
   Osaka University-Department of Molecular Chemistry, Osaka, JP, 11/20-21/03, 3 Lectures.
   University of Victoria-Department of Chemistry, Victoria, BC, Canada, 1/5/04, Lecture.
   Rutgers University-Department of Chemistry, New Brunswick, NJ, Departmental Colloquium.
   9th Liposome Research Days, Taipei, Taiwan, 5/12/04, Lecture.
   Purdue Nanomedicine Symposium, West Lafayette, IN, 7/26/04, Lecture.
   13th Int’l Symposium on Supramolecular Chemistry, South Bend, IN, 7/27/04, Lecture.
   ARO Workshop, Jackson Hole, WY, 10/7/04, Lecture.
   National Renewable Energy Laboratory, Golden, CA, 1/24/05, Lecture.
   University of Colorado-Department of Chemistry, Boulder, CA, 1/25/05, Lecture.
   Max Planck Institute-Biophysics Institute, Frankfurt, Germany, 1/30/05, Lecture.
   University of Twente-Department of Chemistry, Enschede, Netherlands, 2/2/05, Lecture.
   ACS Symposium: Surfactant Self-Assembly, San Diego, CA, 3/13-3/17/05, 3 Lectures.
   MRS Symp.: Nano-Bio Interfac.; Smart Surf.; Dyn. Self-Assem., San Francisco, CA, 3/29-30/05, 3 Lect.
   Scanning 2005, Monterrey, CA, 4/7/05, Lecture.
   University of North Carolina, Chapel Hill-Department of Chemistry, Chapel Hill, NC, 4/28/05, Lecture.
   GRC: Chemistry of Supramolecules & Assemblies, Ventura, CA, 6/17/05, Discussion Leader.
   Particles 2005, San Francisco, CA, 8/15/05, Keynote Lecture.
   NanoTechnology 2005, JAIST-Komatsu, JP, 9/15-9/19/05, Lecture.
   Illinois State University, Department of Chemistry, Normal, IL, 1/27/06, Lecture.
   Frontiers in Nanotechnology, Northwestern University, Evanston, IL, 2/23/06, Lecture.
   University of Arizona, Department of Chemistry, Tuczon, AZ, 2/27/06, Lecture.
   Particles 2006, Orlando, FL, 5/14/06, Keynote Lecture.
   Purdue University Cancer Center Retreat, West Lafayette, IN, 9/7/06, Lecture.
   Osaka University, Department of Applied Chemistry, Osaka, JP, 11/20/06, Lecture.
   Hokkaido University, Department of Pharmaceutical Sciences, Hokkaido, JP, 11/22/06, Lecture.
   Nara Advanced Institute of Science & Technology, School of Chem. Sci, Nara, JP, 11/27/06, Lecture.
   Osaka University, Department of Polymer Science, Osaka, JP, 11/28/06, Lecture.
   Japan Advanced Institute of Science & Tech., School of Mat. Sci., Komatsu, JP, 11/29/06, Lecture.
   RIKEN, Tokyo, JP, 12/4/06, Lecture.
   University of Tokyo-Hongo, Tokyo, JP, 12/6/06, Lecture.
   Tokyo Institute of Technology, Tokyo, JP, 12/7/06, Lecture.
   33rd Symposium on Main Group Chemistry, Fukuoka University, Kyushu, JP, 12/9/06, Lecture.
   Kyushu University, Dept. of Chemistry & Biochemistry, Kyushu, JP, 12/11/06, Lecture.
   Tokyo Medical & Dental University, Inst. of Biomaterials & Bioengr., Tokyo, JP, 12/12/06, Lecture.
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September 2023                                                                 David H. Thompson, CV
   Kyoto University, Graduate School of Engineering, Kyoto, JP, 12/13/06, Lecture.
   Kyoto University, Graduate School of Human & Environmental Studies, Kyoto, JP, 12/15/06, Lecture.
   National Meeting, American Oil Chemist’s Society, Quebec City, Quebec, 5/14/07, Lecture.
   Steacie Institute for Molecular Science, NRC, Ottawa, Canada, 5/17/07, Lecture.
   ACS Symposium: Drug Delivery, Boston, MA, 8/21/07, Lecture.
   Polytechnic University, Dept. of Chemical & Biological Engineering, Brooklyn, NY, 11/16/07, Lecture.
   International Liposome Society 2007 Annual Meeting, London, UK, 12/8-11/07, Lecture.
   City College of New York, Dept. of Chemical Engineering, New York, NY, 3/3/08, Lecture.
   Particles 2008, Orlando, FL, 5/10-13/08, Keynote Lecture.
   Technical University of Denmark, Dept. of Micro & Nanotechnology, Roskilde, DK, 7/4/08, Lecture.
   Tokyo Medical & Dental University, Inst. of Biomatl’s & Bioengineering, Tokyo, JP, 7/17/08, Lecture.
   11th Liposome Research Days, Yokohama, JP, 7/20-22/08, Lecture.
   GRC: Drug Carriers in Medicine & Biology, Big Sky, MT, 8/24-29/08, Lecture.
   University of Pennsylvania, Dept. of Pharmacology, Philadelphia, PA, 11/12/08, Lecture.
   National Cancer Institute, Nanobiology Seminar Series, Frederick, MD, 1/16/09, Lecture.
   ARO Workshop, Napa, CA, 3/11/09, Lecture.
   Nanotechnology, Liposomes and Health, Ilha Itaparica, Brazil, 4/18/09, Lecture.
   Rutgers University-Department of Chemistry, New Brunswick, NJ, 10/6/09, Lecture.
   U. Southern California, Dept. of Pharmacology & Pharmaceutical Sci, Los Angeles, CA, 12/09, Lecture.
   ACS Symposium in Honor of Clifford Bunton, San Francisco, CA, 3/21/10, Lecture.
   Brazilian Biochemistry & Cell Biology Annual Meeting, Iguassu Falls, Brazil, 5/16-20/10, Lecture.
   Particles 2010, Orlando, FL, 5/23/10, Keynote Lecture.
   Bio/Abio Interface Symposium, U. Canterbury, Christchurch, NZ, 6/22-24/10, Lecture.
   KIST-Purdue Symposium, Seoul, ROK, 6/28/10, Lecture.
   Pohang University of Science & Technology (POSTECH), Pohang, ROK, 7/1/10, Lecture.
   ACS Symposium on Drug & Gene Delivery, Boston, MA, 8/22-24/10, Lecture.
   GRC: Biointerfacial Science, 9/5-10/10, Les Diablerets, Switzerland, Lecture.
   University of Basel-Department of Chemistry, Basel, Switzerland, 9/10/10, Lecture.
   University of Geneva-Department of Chemistry, Geneva, Switzerland, 9/14/10, Lecture.
   Case Western Reserve University, Dept. of Biomedical Engineering, Cleveland, OH, 2/24/11, Lecture.
   Parseghian Scientific Conf. for Niemann-Pick Type C Research, South Bend, IN, 6/10/11, Lecture.
   Technical University of Denmark, Dept. of Micro- and Nanotechnology, Lyngby, DK, 8/11/11, Lecture.
   President’s Council Back-to-Class, West Lafayette, IN, 9/30/11, Lecture.
   U. Michigan-Department of Chemistry, Ann Arbor, MI, 11/10/11, Lecture.
   Purdue U.-Department of Biological Sciences, West Lafayette, IN, 11/16/11, Lecture.
   Georgetown U., Dept. of Chemistry, Georgetown, DC, 2/2/12, Lecture.
   Parseghian Scientific Conf. for Niemann-Pick Type C Research, South Bend, IN, 6/9/12, Lecture.
   Shanghai University, Department of Chemistry, Shanghai, China, 10/7/12, Lecture.
   Southwest University for the Nationalities, Chengdu, China, 10/9/12, Lecture.
   University of Illinois-Chicago, Dept. of Pharmacy, Chicago, IL, 3/27/13, Lecture.
   GRC: Self-Assembly and Supramolecular Chemistry, 5/5-10/13, Les Diablerets, Switzerland, Lecture.
   16th Annual Meeting, American Society of Gene & Cell Therapy, Salt Lake City, UT, 5/15/13, Lecture.
   National University of Singapore, Dept. of Chemical & Biomolecular Engineering, Singapore, 7/26/13
   SABIC, Bangalore, India, 7/30/13, Lecture.
   Indian Institute of Science, Bangalore, India, 8/1/13, Lecture.
   Chulalongkorn University, Bangkok, Thailand, 8/5 – 8/12/13, Short Course.
   Contrast Media Research 2013, Beijing, China, 11/3/13, Lecture.
   Institute of Chemical Technology-Mumbai, Mumbai, India, 11/28/13, Lecture.
   Southwest University for the Nationalities, Chengdu, China, 4/8/14, Lecture.
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 Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 479 of 695 PageID #: 7270
September 2023                                                                   David H. Thompson, CV
   17th Cyclodextrin Symposium, Saarbrücken, Germany, 5/29 – 5/31/14, Plenary Lecture.
   MM&C Parseghian Scientific Conference for NPC Research, South Bend, IN, 6/14/14, Lecture.
   U. Pennsylvania-CT3N Symposium, Philadelphia, PA, 11/12/14, Lecture.
   Rare and Neglected Disease Symposium, South Bend, IN, 2-13-15, Lecture.
   U. Missouri-Columbia, Columbia, MO, 3-2-15, Lecture.
   4th European Conference on Cyclodextrins, Lille, France, 10/8/15, Lecture.
   Goethe University, Department of Pathobiology, Frankfurt, Germany, 10/13/15, Lecture.
   Contrast Media Research 2015, Berlin, Germany, 11/3/15, Lecture.
   University of California – Los Angeles, Department of Chemistry, Los Angeles, CA, 2/29/16, Lecture.
   Carthage College, Department of Chemistry, Kenosha, WI, 9/19/16, Lecture.
   University of Notre Dame – Purdue University Polymer Symposium, South Bend, IN, 10/8/16, Lecture.
   Northeastern University, Department of Pharmaceutics, Boston, MA, 4/20/17, Lecture.
   Tulane University, Department of Chemistry, New Orleans, LA, 4/24/17, Lecture.
   Purdue University, Dept. of Industrial & Physical Pharmacy, West Lafayette, IN, 11/20/17, Lecture.
   Oregon Health & Science University, Portland, OR, 6/19/18, Lecture.
   GRC: Drug Carriers in Medicine & Biology, 8/12 – 8/17/18, Lecture.
   University of Washington, Molecular Engineering & Sciences Institute, Seattle, WA, 10/23/18, Lecture.
   Pharmaceutica 2019, Edinburgh, Scotland, 3/19/19, Lecture.
   SOAR-NPC Cyclodextrin Meeting, New York, NY, 4/23/19, Lecture.
   Commercializing Flow Chemistry Summit 2020, Virtual Meeting, 8/26/20, Lecture.
   Drug Discovery, Development & Lead Optimization 2020, Virtual Mtg, 10/5/20, Lecture & Session Chair.
   2020 Nat’l Inst. for Pharmaceutical Tech. & Education Research Conf., Virtual Meeting, 12/9/20, Lecture.
   eMolecules Webinar, Virtual Meeting, 4/21/21, Lecture.
   2nd Applied Biocatalysis Summit 2021, Virtual Meeting, 11/4/21, Lecture.
   Flow Chemistry Summit 2022, Boston, MA, 3/17-18/22, Lecture.
   ACS National Meeting, Innovative Technologies to Support 21st Century Agriculture Symposium,
        Indianapolis, IN, 3/27/23, Lecture.
   Commercializing Flow Chemistry Summit 2023, Boston, MA, 10/16-18/23, Lecture.
   API Innovation Center Summit: Pathway to Build Supply Chain Resilience for Critical Drugs, 11/8/23,
        Workshop Panelist.
   8th International Conference on Catalysis and Chemical Engineering, Boston, MA, 2/26-28/24, Lecture.


SERVICE
   Reviewer for the following journals:
       Science                                                Biophysical Journal
       Nature                                                 Biophysical Chemistry
       Nature-Biotechnology                                   Chemistry-A European Journal
       Nature-Materials                                       Chemistry & Biology
       Science Translational Medicine                         Advanced Drug Delivery Reviews
       Journal of the American Chemical Society               Biochimica et Biophysica Acta
       Angewandte Chemie, International Edition               Pharmaceutical Research
       Langmuir                                               Bioorganic & Medicinal Chemistry Letters
       Bioconjugate Chemistry                                 Journal of Controlled Release
       Journal of Organic Chemistry                           Biochemistry
       Organic Letters                                        Biomacromolecules
       Journal of Medicinal Chemistry                         Photochemistry & Photobiology
       Journal of Physical Chemistry B                        Journal of Colloid & Interfacial Science
       Macromolecules                                         Tetrahedron

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September 2023                                                                               David H. Thompson, CV
      European Journal of Pharmaceutics & Biopharmaceutics               Soft Matter
      Nanomedicine                                                       Chemical Communications
      Chemistry of Materials                                             Protein Science
      ACS Nano                                                           Lipids
      Chemistry & Physics of Lipids                                      Journal of Membrane Science
      Biotechnology & Bioengineering                                     Supramolecular Chemistry
      Journal of Chemical Education                                      Organic & Biomolecular Chemistry
   Ad-hoc reviewer for new faculty & international grant programs:
       Cottrell Scholar, Research Corporation                            Swiss National Science Foundation
       Dreyfus Teacher-Scholar Program                                   Petroleum Research Foundation Program
       NATO Former Soviet Union-US Research Program                      Israeli-US Bilateral Research Program
       Saskatchewan Medical Research Foundation                          Biomedical Research Council-Singapore
       UK Biotechnology & Biological Sciences Research Council
   Purdue Service:
       Center for Cancer Research Targets, Structures & Drugs Interdisciplinary Research Director: 2018-2021
       Center for Cancer Research Chemical & Structural Biology Interdisciplinary Research Co-Director: 2008-2018
       Center for Cancer Research Faculty Screening Committee: 2002
       Center for Cancer Research Grant Review Committee: 2001-present
       College of Science Faculty Council: 2000-2004
       College of Science Educational Policy Committee: 2000-2004
       College of Science Membrane Science COALESCE Faculty Recruiting Committee: 2003-2008
       Life Science Education (PULSe) Admissions Committee: 2004-2007, 2011-2014
       Life Science Microscopy Facility Advisory Committee: 2007-2018
       Library Committee: 2000-2003
       Department of Chemistry Primary Promotions Committee: 2005-2009
       Department of Chemistry Executive Committee: 2001-2011
       Department of Chemistry Faculty Recruiting & Screening Committees: 2001 (Chemical Biology), 2010-2017 (Drug
            Discovery), 2011 (Organic Chemistry), 2013 (Organic Materials), 2022 (Organic Chemistry)
       Department of Chemistry Graduate Studies Committee: 1998-2003, 2011-2015
       Department of Chemistry Industrial Associates Committee: 1994-2000, 2009-2011
       Horizons Program: 1997-2001, 2011
       ACS Student Affiliates Advisor: 1994-1997
       Course Developer, NSF Interdisciplinary Science Education for Engineers: 2005-2015



INVOLVEMENT IN EDUCATIONAL PROGRAMS
   Graduate Students Receiving Degree
      Aayush, April 20, 2023
            Ph.D. Thesis: Developing Elastin-like Polypeptide-based Imaging and Drug Delivery Systems
       Vivek Badwaik, April 19, 2016
            Ph.D. Thesis: Development and Evaluation of Cyclodextrin Based Materials for Applications in Gene Therapeutics
       Christopher Benjamin, August 17, 2015
            Ph.D. Thesis: Non-Fouling Affinity Platforms For Protein Immobilization In Electron Microscopy
       Shruti Biyani, June 14, 2022
            Ph.D. Thesis: High-Throughput Experimentation and Continuous Flow Synthesis of Active Pharmaceutical Ingredients
       Scott C. Bolton, November 26, 2019
            Ph.D. Thesis: Quaternary Structure Analysis of Calcium/Calmodulin-Dependent Protein Kinase II Alpha by Cryo-
            electron Microscopy
       Jeremy A. Boomer, January 25, 2000
                                                            22

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September 2023                                                                                 David H. Thompson, CV
          Ph.D. Thesis: Synthesis of Acid-Sensitive Lipids and Their Application in Drug & Gene Delivery
        Christopher J. Collins, May 19, 2015
            Ph.D. Thesis: Synthesis, Characterization, In Vitro Evalution, And Preclinical Profiling Of β-Cyclodextrin
            Polyrotaxane Families For Use As Potential Niemann-Pick Type C Therapeutics
        Damien Dobson, May 2022
                M.S. Thesis: High-throughput Experimentation of the Buchwald-Hartwig Amination for Reaction Scouting
                and Guided Synthesis
        H. Sam Ewan, November 8, 2019
            Ph.D. Thesis: High-Throughput Experimentation with Desorption Electrospray Ionization Mass Spectrometry to
            Guide Continuous-Flow Synthesis
        Wilma Febo-Ayala, August 14, 2006
            Ph.D. Thesis: Synthesis and Structure-Function Relationships of Tetraether Bisglyceryl Bolalipids for
            Development of a High-Throughput Membrane Protein Biosensor
        Jessica Grey, October 1, 2010
            Ph.D. Thesis: Development of NTA-modified Ligands and Non-covalent Cyclodextrin-based Templates for
            Crystallization of Histidine-tagged Proteins
        Andres Gonzalez-Bonet, June 28, 2013
            Ph.D. Thesis: Development of Fusogenic Liposomes Based on Flavivirus-derived Lipopeptides
        Maggie Gunnerson, December 15, 2006
            M.S. Thesis: Design & Synthesis of NTA-Polyrotaxanes for 1D Crystallization of His-Tag Proteins
        Minji Ha, May 25, 2015
            M.S. Thesis: Non-covalent Affinity Materials For Protein Structure Determination Via Single Particle
            Reconstruction Analysis Cryo-Electron Microscopy
        David P. Holland, July 14, 2008
            Ph.D. Thesis: The Development of a Membrane-Based Biosensor of ICMT: Membrane Synthesis, Properties and
            Methods of Detection
        Robin Hyder, December 1, 1998
            M.S. Thesis: Synthesis of Lipids for Two-Dimensional Crystallization
        Zinia Jaman, April 8, 2019
             Ph.D. Thesis: High Throughput Experimentation as a Guide to the Continuous Flow Synthesis of Active
             Pharmaceutical Ingredients
        Hee-kwon Kim, July 14, 2011
            Ph.D. Thesis: Synthesis of Biofunctional Compounds for Protein Crystallization and Gene Delivery
        Aditya Kulkarni, November 16, 2012
            Ph.D. Thesis: Development of Cyclodextrin Based Materials for Gene Delivery
        Young Lee, March 2, 2017
            Ph.D. Thesis: Development of Targeted Liposomes for Bladder Tumor Imaging and Treatment
        Scott Loethen, March 24, 2008
            Ph.D. Thesis: Cyclodextrin-Based Pseudopolyrotaxanes and Polyrotaxanes for Biological Applications
        Brad Loren, April 16, 2018
            Ph.D. Thesis: Part I - Polyrotaxanes as MRI Contrast Agents and NPC Therapeutics. Part II – Development of an
            Analytic-Directed Synthesis System
        Jonathan Merrell, M.D., Indiana School of Medicine, August 2016
            M.S. Thesis: Development of Degradable Polymer Particles for Administration of Drugs to the GI Tract
        Yawo Mondjinou, July 21, 2015
            Ph.D. Thesis: b-Cyclodextrin Derivatives Based Molecular Machines for Biomedical Applications and Magnetic
            Resonance Imaging
        Robert J. Nicholas, May 2022
            M.S. Thesis: Process Development for the Synthesis of Essential Medicines in Continuous Flow

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 Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 482 of 695 PageID #: 7273
September 2023                                                                                 David H. Thompson, CV
      Patrick Palafox, May 10, 2010
          M.S. Thesis: Modification of Conductive Surfaces for Imaging and Detecting of Biological Activity
      Aniruddha Patwardhan, August 25, 2000
          Ph.D. Thesis:   Development of Novel Membrane Materials and Their Application to Coupled Transport
          Phenomena
      Lizhen Peng, April 27, 2012
          M.S. Thesis: Controlled Nucleation of His-tag Protein Assemblies Using Rigid Symmetric Multivalent
          Nitrilotriacetic Acid Chelating Ligands
      Marquita M. Qualls, February 2, 2001
          Ph.D. Thesis: Targeted and Triggerable Lipid Carriers for the In vitro Delivery of Water Soluble Molecules
      Yuanjin Rui, November 6, 1996
          Ph.D. Thesis: Synthesis and Drug Delivery Applications of Plasmenylcholine Liposomes
      Shayak Samaddar, July 17, 2019
           Ph.D. Thesis: Delivery Strategies for Gene Therapy
      Junhwa Shin, November 24, 2002
          Ph.D. Thesis: Synthesis and Acid-Triggered Release Activity of PEG Lipid Conjugates in DOPE Liposomes
      Pochi Shum, April 24, 2002
          M.S. Thesis: Formation of Fibrinogen-Based Hydrogels Using Phototriggerable Liposomes
      Nicholas Snead, July 9, 2008
          M.S. Thesis: Developing Polyrotaxanes as siRNA Delivery Vectors
      Zachary Struzik, April 12, 2022
          Ph.D. Thesis: Synthesis and Evaluation of Labeled Phosphatidylglycerol Probes to Elucidate Mechanisms Behind
          Cholesterol Trafficking in Niemann-Pick Type C Disease
      Craig Sweet, November 24, 2020
          Ph.D. Thesis: Applications of Elastin-like Polypeptides in Imaging and Drug Delivery for Bladder Cancer Using
          Facile Organic Extraction Purification
      Brandi Thomas, March 27, 2001
          M.S. Thesis: Preparation of NTA Chelating Lipids and Green Fluorescent Protein for the Characterization of Two-
          Dimensional Crystallization
      Jeroen Van den Bossche, March 21, 2008
          Ph.D. Thesis: Polyethylene Glycol Conjugates and Vinyl Ether Constructs for Programmed Gene and Drug Delivery
      Kyle J. Wright, November 30, 2016
          Ph.D. Thesis: Synthesis and Performance af Novel Supramolecular Tools for Single-Particle Cryogenic Electron
          Microscopy and Drug and Gene Delivery
      Yi Xiao, November 29, 2007
          M.S. Thesis: Oxidation of Vinyl Ether Compounds: Behavior and Kinetics
      Mingkang Zhou, July 14, 2006
          Ph.D. Thesis: Design, Synthesis and Performance of Cyclodextrin-Based Noncovalent Templates for
          Crystallization of Histidine-Tagged Proteins

   Visiting Scientists, Past & Present
       Dr. Steve Ansell, INEX Pharmaceuticals, 9/98 – 10/98
       Mr. Marcus Chen, University of Tokyo, 10/09 – 1/10
       Professor Shin-ichi Fujiwara, Osaka Dental University, 3/05 – 8/06 and 7/07 – 8/07
       Dr. Keeve Jaffe, Frantz Biomarkers, 9/07
       Mr. Rasmus JØlck, Technical University of Denmark, 9/10 – 12/10
       Mr. Anthony Marshal, University of Arizona, 1/07
       Dr. Nobuyuki Morimoto, Tokyo Medical & Dental University, 10/07 – 1/08
       Ms. Erika Murase, Osaka University, 6/07 – 8/07
                                                           24

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September 2023                                                                       David H. Thompson, CV
      Mr. Henrik Schaarup-Jensen, Technical University of Denmark, 9/15 – 12/15
      Ms. Elizabeth Suesca Sanchez, University of Colombia, Bogota, Columbia, 1/15 – 1/16

   Current Research Group
      Graduate Students
      Saloni Darji                    11/19 – present
      Shadwa Eldosuky                 5/23 – present
      Kiera Estes                     11/18 – present
      Marissa Henager                 11/22 – present
      Giulia Murbach De Oliveira      11/19 – present
      Feng Qu                         5/22 – present

      Undergraduate Students
      Evan Bobb                       1/22 – present
      Casey Gooden                    1/22 – present
      Jocie Strock                    1/20 – present
      Emily Yeh                       1/21 – present

   Former Group Members
      Postdoctoral Associates
      Ghanashyam Acharya, Ph.D., Indian Inst. of Science, 1999, 12/99 – 2/01 (Assoc. Prof., Baylor CoM)
      Montserrat Rovira Bru, Ph.D., 1999, 1/00 – 12/01 (shared with Prof. I. Szleifer) (Lecturer, NC Comm. Coll.)
      Christopher J. Collins, Ph.D., Purdue University, 6/15 – 3/17 (CTO, Key Proteo)
      Ciro DiMeglio, Ph.D., Oregon Graduate Institute, 1997, 1/98 – 12/98 (Adj. Faculty, Worcester State U.)
      Oleg Gerasimov, Ph.D., Institute of Catalysis-Novosibirsk, 2/93 – 3/98 (Lead Software Engineer, IFS)
      Dinara Gunasekera, 3/13 – 3/14 (Director, Medicinal Chemistry, New Frontier Bio)
      Saubhik Haldar, Ph.D., Indian Institute of Science, 1999, 2/00 – 2/02 (Assoc. Prof., Jadavpur U)
      Seok-hee Hyun, Kyungpook National University, 2004; 1/08 – 12/16 (Flow Chem Lead, Continuity Pharma)
      H. Dorota Inerowitz, Ph.D., Technical U. of Gdansk, 1981, 5/99 – 1/01 (Indiana State Chemist)
      Jin-Chul Kim, 7/97 – 12/98 (shared with Prof. K. Park) (Prof., Kangwon National University)
      Jong-Mok Kim, Ph.D., Kyushu University, 1991, 11/98 – 12/01; 10/98 – 9/08 (retired)
      Akiko Murakawa, Tokyo Institute of Technology, 2007; 4/07 – 4/09 (Tokyo Institute of Technology)
      GV Srilaksmi Patri, Ph.D., IICT-Hyderabad, 2001; 2/02 – 12/03 (Prof., Natl. Inst. Tech.-Warangal)
      Dimiter Petsev, 11/97 – 3/98 (shared with Prof. I. Szleifer) (Prof., U New Mexico)
      Qing Qingqing, Ph.D., Shanghai Institute of Organic Chemistry, 06/19 – 11/19 (Postdoc, Purdue-IPPH)
      Sönke Svenson, PhD, Freie Universität Berlin, 1993, 10/94 – 8/97 (Founder, Drug Delivery Solutions)
      Caihua Wang, Ph.D., Georgetown U., 2002; 5/03 – 12/05 (Principal Scientist, Johnson & Johnson)
      Deng Wei, University of Science & Technology of China, 2005; 5/08 – 9/10 (Asst. Prof., Shanghai U.)
      Zhi-Yi Zhang, Ph.D., Kyushu University, 1998; 3/00 – 3/01 (VP – Head of Formulations, Suzhou Abogen Biosciences)

      Graduate Students
      Aayush, PhD, Staff Scientist, Bindley Bioscience Center, West Lafayette, IN
      Vivek Badwaik, PhD, Staff Scientist, Corteva Agrisciences, Zionsville, IN
      Christopher Benjamin, PhD, Senior Process Engineer, IBM, San Francisco, CA
      Shruti Biyani, PhD, Dow Chemical, Midland, MI
      Scott C. Bolton, PhD, Senior Scientist, Purdue University, West Lafayette, IN
      Jeremy A. Boomer, PhD, Site Director, Abbott Laboratories, Pomona, CA
      David P. Brownholland, PhD, Associate Professor, Carthage College, Kenosha, WI
      Christopher J. Collins, PhD, Chief Technical Officer, Key Proteo, Seattle, WA
                                                       25

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September 2023                                                                  David H. Thompson, CV
      Damien Dobson, MS, Scientist, Triclinic Laboratories, West Lafayette, IN
      H. Sam Ewan, PhD, job seeking
      Wilma Febo-Ayala, PhD, Associate Teaching Professor, Villanova University
      Andres Gonzalez-Bonet, PhD, Chemist, Food & Drug Administration, Washington, DC
      Jessica Grey, PhD, Manager, GE Appliances, Louisville, KY
      Maggie Gunnerson, MS, Clinical Trials Manager, Proctor & Gamble, Cincinnati, OH
      Minji Ha, MS, PhD student, Hanyang University
      Robin Hyder, MS, Hospira, Raleigh, NC
      Zinia Jaman, PhD, Senior Scientist II, Cambrex, Greensboro, NC
      Hee-kwon Kim, PhD, Associate Professor, Chonbuk National University, Jeonju, South Korea
      Aditya Kulkarni, PhD, Founder & CSO, Avammune Therapeutics, Bengaluru, India
      Young Lee, PhD, Senior Scientist, Indiana University Health Methodist Hospital, Indianapolis, IN
      Scott Loethen, PhD, Head – Applied Development Plastics, BYK, St. Louis, MO
      Bradley Loren, PhD, Patent Attorney, Chicago, IL
      Yawo Mondijnou, PhD, Advanced Scientist, Owens Corning Science & Technology, Granville, OH
      Robert J. Nicholas, MS, PhD student, Purdue University, West Lafayette, IN
      Patrick Palafox, MS, Newell Brands, South Deerfield, MA
      Aniruddha Patwardhan, PhD, Distinguished Research Scientist, Elanco, Indianapolis, IN
      Lizhen Peng, MS, Machine Learning Scientist, Amazon
      Marquita M. Qualls, PhD, Entropia Consulting Group, Philadelphia, PA
      Yuanjin Rui, PhD, Senior Research Scientist, Pfizer, La Jolla, CA
      Shayak Samaddar, PhD, Advisor, Eli Lilly & Co, Indianapolis, IN
      Junhwa Shin, PhD, Korea Atomic Energy Research Institute, Seoul, Republic of Korea
      Pochi Shum, MS, Senior Scientist, Crispr Therapeutics, Cambridge, MA
      Nicholas Snead, MS, Associate Director, Orbital Therapeutics, San Francisco, CA
      Brandi (Thomas) Simmons, MS, Eli Lilly, Indianapolis, IN
      Zachary Struzik, PhD, Senior Scientist, Avanti Polar Lipids, Birmingham, AL
      Craig Sweet, PhD, Consultant, PwC, Chicago, IL
      Jeroen Van den Bossche, PhD, Associate Director, KBC Securities, Brussels, Belgium
      Kyle Wright, PhD, QC Supervisor, Nanshan America, Lafayette, IN
      Yi Xiao, MS, Patent Attorney, Beijing Sanyou Intellectual Property Agency Ltd, Beijing
      Mingkang Zhou, PhD, American Chemical Society – China Market & Business Dev., Shanghai, China

   Undergraduate Students (*co-author of a paper from Thompson group)
     Deborah Aremu             1/18 – 5/19
      Erin Baker               1/98 – 8/00           Associate Scientist - Amgen
      Ann Banta                9/01 – 12/01
      Anna Barker              8/16 – 5/18
      Dustin Barr              8/04 – 5/05           Drug Enforcement Agency – Dallas/Ft. Worth
      Jacob Beard              1/17 – 5/18
     Devin Boehm               1/16 – 5/19
      Matt Brian, Jr.          1/98 – 5/98
      Andrew Buesking          9/05 – 5/09           Tobias Scholar, Phi Beta Kappa; Margerum Award; Yale-
                                                         Chemistry Ph.D.; Incyte Research Institute
      Amanda Burgess           8/10 – 5/12           M.S., Johns Hopkins School of Public Health
      *
        Cheyenne Chaplain      1/15 – 5/16           U. Pennsylvania – Chemistry Ph.D.; TCG GreenChem
      Laura Conner             1/99 – 5/99
      Michael Croisant         1/13 – 5/14           M.S., U Wisconsin-Madison
      Vardaan Dawesar          1/18 – 1/19
                                                   26

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 Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 485 of 695 PageID #: 7276
September 2023                                                              David H. Thompson, CV
      *
          Kyle DeFrees       8/10 – 5/12      Margerum Award; U. California-San Francisco Medicinal
                                                 Chemistry Ph.D.; Gate Bioscience
      *
        Asher Demoret        8/13 – 5/15      Formulation Chemist, IDI Composites International
      Emma Doud              1/01 – 12/02     Harvard-Chemistry Ph.D.; IUSOM Proteomics Fac. Mgr.
      *
        Taeyoon Eom          1/15 – 5/16
      Russ Fliter            8/95 – 5/97      Research Specialist, Procter & Gamble
      Helen Flynn            6/17 – 12/17
      *
        Joseph Franses       5/01 – 5/05      Margerum Award, Goldwater Award, Ruzicka Award;
                                                M.D./Ph.D., Harvard Med/MIT; Clinical Research
                                                Fellow, Medical Oncology – Massachusetts General
                                                Hospital
      Clare Gallagher        6/17 – 5/19
      Greg Gentry            8/10 – 12/11     J.D., IU School of Law; partner at Randall, Gentry & Pike
                                                  P.C.
      Michelle Glaunert      7/08 – 1/09
      *
        Kristof Glauninger   1/15 – 5/16
      *
        Jay Groves           1/00 – 5/01      podiatry school graduate
      Vanessa Hacker         1/98 – 5/98      nursing school
      Jason Hadley           1/12 – 5/13      Bioprocessing Specialist II – Argos Therapeutics; UT
                                                 Health – San Antonio Ph.D. program
      Henry Hamann           8/12 – 5/15      Purdue-Chemistry Ph.D. program
      *
       Rob Haynes            11/96 – 5/98     1997 Pfizer Undergraduate Research Fellow
      Lauren Heavin          8/08 – 5/12      M.D., IU School of Medicine
      Ross Hoehn             1/05 – 12/06     Ph.D., Purdue-Chemistry; Research Scientist – Soar
                                                 Technology
      Ryan Hurd              8/96 – 12/97     Purdue Krannert M.B.A. program; Eli Lilly
      Jacob Hyatte           1/13 – 5/14      Chemist, Kelly Services
      Melanie Ivancic        1/04 – 1/05      Lead Scientist, Bioanalytical Chemistry – Covance
      Tony Jacobs            5/98 – 8/99      pharmacy school
      Katie Jochim           8/10 – 12/11     Chemistry graduate school
      Benny Kartono          1/02 – 5/02      medical school
      Christen Kenrick       1/04 – 1/05
      *
        Kyle Krynski         1/13 – 5/15
      *
        Scott Leffler        8/03 – 5/05      medical school
      Luke Lewis             6/17 – 12/17
      *
        Linjia Liu           1/14 – 5/16
      Asher Lucas            1/02 – 5/02      Quadraspec, Inc.; Chemist III, Florida Department of
                                                 Agriculture and Consumer Services
      Gabriel Magallanes     1/11 – 5/14      U. Michigan – Chemistry Ph.D.; Patent Agent, Eli Lilly
      Scott Malloy           1/19 – 5/19
      *
        Laura Marholz        8/08 – 5/10      U. Colorado-Chemistry Ph.D.; Frontier Medicines
      Joshua Mazur           8/16 – 5/19      OPTI Medical Systems, Formulation Technician
      Matt McDermott         1/05 – 8/07      Margerum Award; Purdue, Biomedical         Engineering
                                                  Ph.D.; Formulation Scientist – Spectrum Brands
      *
      Derek Miller           5/96 – 8/97      M.S., Texas A&M U. – Chemistry
      *
      Ahmed Mufti            6/17 – present
      Macy Mullen            6/17 – 5/18      Materials Chemist – National Aeronautics and Space
                                                Administration
      Juhee Noh              1/18 – 5/18
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September 2023                                                             David H. Thompson, CV
      *
        Anyang Peng            1/12 – 5/14    Northwestern U.-Chemical Engineering Ph.D.
      Brandon Perkins          1/96 – 5/97    medical school
      Scott Peruski            8/14 – 5/16    U. Houston – Chemistry Ph.D.
      *
        Cory Powers            1/12 – 5/14    M.D., IU School of Medicine
      *
        Jason Robarge          8/99 – 5/01    Ph.D., IU Med School – Biostatistics; Research Scientist
                                                  – Eli Lilly & Co.
      *
        Samyukta Sah           8/16 – 5/18    Georgia Tech, Chemistry Ph.D. program
      *
        Ryan Schuldt           1/11 – 5/12    Research Scientist, Albany Molecular Research Inc.
      *
        Annette Schwan         8/94 – 5/95    medical school
      Dana Semann              1/95 – 5/95    medical school
      Christopher Simmons      8/12 – 5/15    Associate Scientist, Eurofins
      *
        Joseph Skulsky         8/14 – 5/16    M.S., U. Michigan – Toxicology
      Sydney Smith             8/16 – 8/18
      Dan Sutton               8/03 – 5/05    Quadraspec, Inc.; Research Associate, FLIR Systems
      Mike Szelai              8/98 – 5/99    Ph.D., U. Arizona – Chemistry
      Johnny Tam               1/13 – 5/14    Senior Scientist, Eurofins Lancaster Laboratories
      *
        Pooi Ling Thong        1/13 – 5/14    Regulatory Affairs Executive, GlaxoSmithKline –
                                                  Malaysia
      Eric Tippmann            1/97 – 12/97   Ph.D., Ohio State U.-Chemistry; Scripps pdf; Purdue –
                                                  Fort Wayne Associate Professor
      Ariel Topletz            9/01 – 5/02    Clinical Pharmacologist, Seattle Genetics
      Robert Vandewalle        9/04 – 5/05    M.D., IU School of Medicine; Pediatric Surgery Research
                                                  Fellow, IU School of Medicine
      Ilakkiya Venkatachalam   1/19 – 5/19
      Diego Villareal          8/03 – 12/05   chemist for company based in Mexico City
      *
        Alex Vlahu             1/11 – 5/14
      Josh Weber               8/97 – 12/97
      *
        Kyle Wright            8/09 – 8/11    Ph.D., Purdue – Chemistry
      *
        Nathan Wymer           5/95 – 7/97    Goldwater Award, Margerum Award; Ph.D., Duke U. –
                                                  Chemistry; Georgia Institute of Technology postdoc;
                                                  ZuChem, Inc.; Principal Scientist, Pfizer; Assistant
                                                  Professor, North Carolina Central U.
      *
        Manxi Xiong            1/13 – 5/14    U. Texas-Austin – Chemistry Ph.D.
      Kathryn Yammine          6/16 – 5/18    MIT – Chemistry Ph.D. program
      *
        Melinda Yates          1/99 – 5/01    Abbott Labs; Ph.D., Johns Hopkins School of Medicine –
                                                  Environmental     Health     Sciences;    Associate
                                                  Professor, MD Anderson Cancer Center
      John (Jay) Young         8/00 – 12/00   medical school




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                                                                        JA00480
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 489 of 695 PageID #: 7280




                                                                        JA00481
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 490 of 695 PageID #: 7281




                                                                        JA00482
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 491 of 695 PageID #: 7282




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 492 of 695 PageID #: 7283




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 493 of 695 PageID #: 7284




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 494 of 695 PageID #: 7285




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 495 of 695 PageID #: 7286




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 496 of 695 PageID #: 7287




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 497 of 695 PageID #: 7288




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 498 of 695 PageID #: 7289




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 499 of 695 PageID #: 7290




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 500 of 695 PageID #: 7291




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 501 of 695 PageID #: 7292




                                                                        JA00492
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 502 of 695 PageID #: 7293




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 503 of 695 PageID #: 7294




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 504 of 695 PageID #: 7295




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 505 of 695 PageID #: 7296




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 506 of 695 PageID #: 7297




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 507 of 695 PageID #: 7298




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 508 of 695 PageID #: 7299




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 509 of 695 PageID #: 7300




                                                                        JA00500
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 510 of 695 PageID #: 7301




                                                                        JA00501
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 511 of 695 PageID #: 7302




                                                                        JA00502
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 512 of 695 PageID #: 7303




                                                                        JA00503
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 513 of 695 PageID #: 7304




                                                                        JA00504
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 514 of 695 PageID #: 7305




                                                                        JA00505
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 515 of 695 PageID #: 7306




                                                                        JA00506
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 516 of 695 PageID #: 7307




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 517 of 695 PageID #: 7308




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                                                                        JA00508
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                                                                        JA00509
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 520 of 695 PageID #: 7311




                                                                        JA00510
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 521 of 695 PageID #: 7312




                                                                        JA00511
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 522 of 695 PageID #: 7313




                                                                        JA00512
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 523 of 695 PageID #: 7314




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 524 of 695 PageID #: 7315




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                                                                        JA00515
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 526 of 695 PageID #: 7317




                                                                        JA00516
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 527 of 695 PageID #: 7318




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 528 of 695 PageID #: 7319




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 532 of 695 PageID #: 7323




                                                                        JA00521
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 533 of 695 PageID #: 7324




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 535 of 695 PageID #: 7326




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 536 of 695 PageID #: 7327




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                                                                        JA00527
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 540 of 695 PageID #: 7331




                                                                        JA00528
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 541 of 695 PageID #: 7332




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 542 of 695 PageID #: 7333




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                                                                        JA00531
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                                                                        JA00532
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 546 of 695 PageID #: 7337




                                                                        JA00533
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 547 of 695 PageID #: 7338




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 548 of 695 PageID #: 7339




                                                                        JA00535
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                                                                        JA00536
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 550 of 695 PageID #: 7341




                                                                        JA00537
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 551 of 695 PageID #: 7342




                                                                        JA00538
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 552 of 695 PageID #: 7343




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 553 of 695 PageID #: 7344




                                                                        JA00540
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 554 of 695 PageID #: 7345




                                                                        JA00541
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 555 of 695 PageID #: 7346




                                                                        JA00542
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 556 of 695 PageID #: 7347




                                                                        JA00543
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                                                                        JA00544
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 558 of 695 PageID #: 7349




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 559 of 695 PageID #: 7350




                                                                        JA00545
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 560 of 695 PageID #: 7351




                                                                        JA00546
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 561 of 695 PageID #: 7352




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 562 of 695 PageID #: 7353




                                                                        JA00548
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 563 of 695 PageID #: 7354




                                                                        JA00549
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 564 of 695 PageID #: 7355




                                                                        JA00550
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 565 of 695 PageID #: 7356




                                                                        JA00551
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 566 of 695 PageID #: 7357




                                                                        JA00552
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 567 of 695 PageID #: 7358




                                                                        JA00553
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 568 of 695 PageID #: 7359




                                                                        JA00554
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 569 of 695 PageID #: 7360




                                                                        JA00555
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 570 of 695 PageID #: 7361




                                                                        JA00556
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 571 of 695 PageID #: 7362




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 572 of 695 PageID #: 7363




                                                                        JA00557
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 573 of 695 PageID #: 7364




                                                                        JA00558
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 574 of 695 PageID #: 7365




                                                                        JA00559
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 575 of 695 PageID #: 7366




                                                                        JA00560
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 576 of 695 PageID #: 7367




                                                                        JA00561
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 577 of 695 PageID #: 7368




                                                                        JA00562
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 578 of 695 PageID #: 7369




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 579 of 695 PageID #: 7370




                                                                        JA00564
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 580 of 695 PageID #: 7371




                                                                        JA00565
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 581 of 695 PageID #: 7372




                                                                        JA00566
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 582 of 695 PageID #: 7373




                                                                        JA00567
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 583 of 695 PageID #: 7374




                                                                        JA00568
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 584 of 695 PageID #: 7375




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 585 of 695 PageID #: 7376




                                                                        JA00569
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 586 of 695 PageID #: 7377




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 587 of 695 PageID #: 7378




                                                                        JA00571
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 588 of 695 PageID #: 7379




                                                                        JA00572
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 589 of 695 PageID #: 7380




                                                                        JA00573
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 590 of 695 PageID #: 7381




                                                                        JA00574
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 591 of 695 PageID #: 7382




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 592 of 695 PageID #: 7383




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 593 of 695 PageID #: 7384




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 594 of 695 PageID #: 7385




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 595 of 695 PageID #: 7386




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 596 of 695 PageID #: 7387




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 597 of 695 PageID #: 7388




                                                                        JA00581
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 598 of 695 PageID #: 7389




                                                                        JA00582
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 599 of 695 PageID #: 7390




                                                                        JA00583
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 600 of 695 PageID #: 7391




                                                                        JA00584
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 601 of 695 PageID #: 7392




                                                                        JA00585
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 602 of 695 PageID #: 7393




                                                                        JA00586
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 603 of 695 PageID #: 7394




                                                                        JA00587
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 604 of 695 PageID #: 7395




                                                                        JA00588
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 605 of 695 PageID #: 7396




                                                                        JA00589
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 606 of 695 PageID #: 7397




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 607 of 695 PageID #: 7398




                                                                        JA00591
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 608 of 695 PageID #: 7399




                                                                        JA00592
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 609 of 695 PageID #: 7400




                                                                        JA00593
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 610 of 695 PageID #: 7401




                                                                        JA00594
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 611 of 695 PageID #: 7402




                                                                        JA00595
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 612 of 695 PageID #: 7403




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                                                                        JA00596
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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 615 of 695 PageID #: 7406




                                                                        JA00598
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 616 of 695 PageID #: 7407




                                                                        JA00599
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 617 of 695 PageID #: 7408




                                                                        JA00600
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                                                                        JA00601
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                                                                        JA00602
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 621 of 695 PageID #: 7412




                                                                        JA00603
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 622 of 695 PageID #: 7413




                                                                        JA00604
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 623 of 695 PageID #: 7414




                                                                        JA00605
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 624 of 695 PageID #: 7415




                                                                        JA00606
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 625 of 695 PageID #: 7416




                                                                        JA00607
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 626 of 695 PageID #: 7417




                                                                        JA00608
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 627 of 695 PageID #: 7418




                                                                        JA00609
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 628 of 695 PageID #: 7419




                                                                        JA00610
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 629 of 695 PageID #: 7420




                                                                        JA00611
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 630 of 695 PageID #: 7421




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 631 of 695 PageID #: 7422




                                                                        JA00613
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                                                                        JA00614
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 633 of 695 PageID #: 7424




                                                                        JA00615
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 634 of 695 PageID #: 7425




                                                                        JA00616
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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 636 of 695 PageID #: 7427




                                                                        JA00617
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                                                                        JA00618
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                                                                        JA00619
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 639 of 695 PageID #: 7430




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 643 of 695 PageID #: 7434




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 644 of 695 PageID #: 7435




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 645 of 695 PageID #: 7436




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 646 of 695 PageID #: 7437




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 647 of 695 PageID #: 7438




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 648 of 695 PageID #: 7439




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 649 of 695 PageID #: 7440




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 650 of 695 PageID #: 7441




                                                                        JA00631
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 651 of 695 PageID #: 7442




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 652 of 695 PageID #: 7443




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 653 of 695 PageID #: 7444




                                                                        JA00633
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                                                                        JA00634
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 655 of 695 PageID #: 7446




                                                                        JA00635
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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 658 of 695 PageID #: 7449




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 659 of 695 PageID #: 7450




                                                                        JA00639
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 660 of 695 PageID #: 7451




                                                                        JA00640
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 661 of 695 PageID #: 7452




                                                                        JA00641
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 662 of 695 PageID #: 7453




                                                                        JA00642
Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 663 of 695 PageID #: 7454




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 664 of 695 PageID #: 7455




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Case 1:22-cv-00252-MSG Document 181-1 Filed 01/03/24 Page 665 of 695 PageID #: 7456




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